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UNITED STATES OF AMERICA

 

  

THE UNITED STATES DISTRICT SOURT S{-_P 2 9 2(]|`{
R THE NORTHERN DISTRICT OF TEXAS
FORT WORTH DIVISION

 

 

 

 

 

 

 

v. Case No: 4:17-CR-158-A
ANGEL RENEE NORRIS (05)
GOVERNMENT'S SUBMISSION OF TRANSCRIPT OF DETENTION HEARING
The United States of America, by and through the United States Attorney for the
Northern District of TeXaS, Would ShoW the Court as follows:
On September 26, 2017, this court ordered the government to file a copy of the
transcript of the detention hearing conducted on July 27, 2017 before Magistrate Judge

Jeffrey L. Cureton. The transcript is hereby attached.

Respectfully Submitted,

PA R
ST T S ATTORNEY

JOHN .

UNI

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Submission of Transcript » Page 1

 

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CERTIFICATE OF SERVICE

I hereby certify that on WCM\QU`E §,Z,Qhe)foregoing Government’s
Submission of Transcript Was se ed by first c ass mail to Danny Burns at 115 N.

Henderson Street, Fort Worth, Texas 76102-1940, counsel for defendant

§st'AWN S ITH

Assistant United States Attorney

 

Attachrnent:
Transcript

Submission of Transcript - Page 2

 

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UNITED STATES OF AMERICA,

Plaintiff,
v.
HEATHER RENEE DEAN (02);
JASON RAND EASLEY (04); and

JOHN WESLEY PENNESTON (07),

Defendants.

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UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS
FORT WORTH DIVISION

Case No. 4:17-MJ-00582-BJ
(4:17-CR-164-O-1)
(4:17-CR-197-O-3)
(4:17-CR-168-O-2)

Fort Worth, TeXaS
July 27, 2017
10:00 a.m.

PRELIMINARY HEARING
DETENTION HEARING

 

UNITED STATES OF AMERICA,
Plaintiff,

V.

TROY DEWAYNE BELL (02);

KARRISSA MARIE GLENN (05);

and ANGEL’RENEE NOBRIS (07),

Defendants.

Case No. 4:17-MJ-589-BJ
(4:17-CR-198-A-6)
(4:17-CR-166-O-1)
(4:17-CR-158-A-5)

PRELIMINARY HEARING
DETENTION HEARING

\_/\_/\_/\_/\/\_/\_/v\_/\/V\_/v\_/\_/V\_/\/\_/\_/\_/\/\_/V\_/

 

APPEARANCES:

For the Government:

For Defendant Dean:

 

TRANSCRIPT OF PROCEEDINGS
BEFORE THE HONORABLE JEFFREY L. CURETON,
UNITED STATES MAGISTRATE JUDGE.

Shawn Smith

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APPEARANCES, COnt'd.:

For Defendant Easley:

For Defendant Penneston:

For Defendant Be11:

For Defendant Glenn:

For Defendant Norrie:

Court Recorder:

Transcription Service:

 

For the Probation Office:

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Proceedings recorded by digital Sound recording;
transcript produced by transcription Service.

 

 

 

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1 FORT WORTH, TEXAS - JULY 27, 2017 - 10:03 A.M.

 

2 ` THE CLERK: All rise. Hear ye, hear ye, hear ye.
3 United States District Court for the Northern District of Texas
4 at Fort Worth is now in session, the Honorable Jeffrey Cureton
5 presiding. Let us pray. God bless these United States and
6 this Honorable Court. Amen.
7 THE COURT: Thank you. Please be seated. The Court
8 calls for preliminary and detention hearing Cause No. 4:17-MJ-
9 582, United States Versus Heather Renee Dean, Jason Easley,
10 John Penneston. Where's John? Is that you, sir? Thank you.
11 Also, Cause No. 4:17-MJ¥589, United States versus Troy Bell.
12 Is that you, sir?
13 DEFENDANT BELL: Yes, sir.
14 THE COURT: Karrissa Glenn. Thank you. And Angel
15 Norris.
16 The Government is represented by Mr. Shawn Smith. Is the

17 Government ready in each of these cases?

18 MR. SMITH: Yes, Your Honor.

19 THE COURT: ls the Government withdrawing any motions
20 to detain in this -- with the Defendants before the Court?

21 MR. SMITH: No, Your Honor.

22 THE COURT: All right. So as 1 ask each defense

23 counsel if you are ready, 1 am also going to ask whether you

24 are contesting probable cause or detention at this time. So,

25 I'll begin with counsel for Ms. Heather Dean. Mr. Leigh Davis,

 

 

 

 

 

l Case417-cr-00158-A Document 109 Filed 09/29/17 Page€of 94 Page|D 176 4
l 1 is the Defense ready?
l 2 MR. DAVIS: The Defense is ready, Your Honor.
3 THE COURT: And do you wish to be heard on both of
l 4 those issues?
5 MR. DAVIS: Yes, Your Honor.
l 6 THE COUR'I`: O]<;ay. As for Mr. Easley, Counsel Anthony
l 7 Green. ls the Defense ready?
8 MR. GREEN: we're ready, Y@ur Honor.
l 9 THE COURT: And are you contesting both issues?
l 10 MR. GREEN: Yes, we are, Your Honor.
11 THE COURT: As to Mr. Penneston?
l 12 MR. ST. JOHN: Yes, Judge.
l 13 THE COURT: Mr. St. John, is the Defense ready?
14 MR. ST. JOHN: Yes, Your Honor.
. 15 THE COURT: And do you wish to be heard on both
160 issues?
l 17 MR. ST. JOHN: Yes, Your Honor.
l 18 THE COURT: As to Defendant Bell, Ms. Rose Romero, --
19 MS. ROMERO: Yes, Your Honor.
l 20 THE COURT: -- is the Defense ready?
l 21 MS. ROMERO: Yes, we are.
22 THE COURT: And on both?
l 23 MS. ROMERO: Yes, Your Honor.
24 THE COURT: Thank you. As to Ms. Glenn, Mr. Crum?
l 25 MR. CRUM: Yes, Your Honor.
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clerk.

 

 

THE COURT:

MR. CRUM:

THE COURT:

MR. O'SHEA:

THE COURT:

MR. O'SHEA:

THE COURT:

first witness.

MR. SMITH:

THE COURT:

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McCurdy - Cross 5

You're ready on both?
am.

And finally, as to Ms. Norris, Mr. O'Shea?
Yes, Your Honor.

Ready on both?
Yes, sir.

Okay. Then, Mr. Smith, you may call your

The Government calls Agent McCurdy.

Agent McCurdy, if you would please come

Please raise your right hand and be sworn by my

THE COURT:

MR. SMITH:

(The witness is sworn.)

Thank you. You may be seated. And

Counsel, you may proceed.

Thank you, Your Honor.

MIKE MCCURDY, GOVERNMENT'S WITNESS, SWORN

BY MR. SMITH:

A Mike McCurdy.

Investigations.

DIRECT EXAMINATION

Q Will you please state your name?

Q And your current occupation?

A I'm a criminal investigator with Homeland Security

Q And where are you currently assigned?

 

 

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McCurdy - Cross 6

A 1'm assigned to the Dallas HSI Office.

Q And are you one of the case agents in this -~ in the
broader case?

A Yes, sir, 1 am.

Q Can you tell us just in general what happened on July 21st,
before we get into any specifics of these Defendants, just kind
of in general what happened on July 21st?

A Yes, sir. We conducted a roundup. We had obtained
multiple arrest warrants for individuals involved in an ongoing
conspiracy case that we've been investigating since, from the
investigative perspective, at least early 2014, if not longer.
Various teams went out and arrested -- served those warrants,
arrested some of those conspirators.

Q And approximately how many arrest warrants were attempted
to be effected on July 21st?

A We had approximately 83 warrants, 1 believe almost 50 of
those were people who were at large. So, approximately 50.

Q And each -- for each defendant, there was a team assigned
to apprehend a certain defendant; is that right?

A Yes, sir, that's correct. A few teams had multiple
defendants, but it was at least one team per defendant,

Q Okay. And how many people approximately made up an arrest
team?

A 1t varied. For example, the team that 1 was on was

approximately six or seven of us.

 

 

 

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McCurdy - Cross 7

Q Okay. All right. And that would be sort of emblematic of
each arrest team who had a person to arrest?

A Yes, sir. 1 would believe that would be representative.
Each team had a team leader and then other members of the team.
Q Okay. All right. Now, let's first talk about Case 4:17*
582. 1 think the first defendant on that complaint is Heather
Dean.

A Yes, sir.

Q 1 believe her information is summarized starting on Page 6
of that complaint, Paragraph 13. Can you just summarize for
us, please, the probable cause identified in that paragraph of
that complaint as it relates to Ms. Dean?

A Yes, sir. A co-conspirator by the name of Alisha Feeney,
who was convicted on a related case -- it's the same case for
us, but a related criminal case -- in 2015 identified Heather
Dean as a member of the methamphetamine distribution
conspiracy. Specifically, Feeney stated that on multiple
occasions she purchased four-ounce to two-ounce quantities of
methamphetamine from Ms. Dean. Additionally, she indicated she`
saw Dean conduct drug transactions with other people.

Q And it also -- the criminal complaint also identifies
Leslie Payne as -- also identifies Leslie Payne as providing
information on Ms. Dean?

A Yes, sir. That's correct. Leslie Payne, another co~

conspirator, Ms. Payne was convicted in 2016, also identified

 

 

 

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McCurdy - Cross 8

Ms. Dean as being involved in a conspiracy. Specifically, Ms.
Payne stated that she witnessed Dean in possession of an ounce
of methamphetamine on approximately three occasions and 16
ounces of GHB, commonly known as the date rape drug, on five
occasions.

Q Okay. And was it sort of -- what role does GHB play
amongst these conspirators?

A 1t's -- the two seem to go hand-in-hand in this
investigation, that almost everyone who's involved in the
distribution of methamphetamine is also involved in the
manufacture and/or distribution of GHB.

Q Okay. All right. Now, when Ms. Dean was arrested, was she
-- was she arrested on July 21st as well?

A Yes, sir, she was.

Q All right. Did she give a statement to law enforcement?

D>'

Yes, sir, she did.

Q And what did she say?

A Bear with a moment. While 1'm finding those notes, 1 will
add that at the time of her arrest, a quantity of
methamphetamine was seized. She was found in a bed, and a
quantity of methamphetamine was seized on the nightstand next
to the bed.

Q Do you know how much it was?

A 1 don't have an exact amount. 1 have the impression that

it was a small amount, but 1 don't have an exact amount.

 

 

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McCurdy - Cross 9

Q Okay.

A Ms. -- in her post-arrest statement, Ms. Dean stated that

the most methamphetamine she had ever seen at one time was one
to two ounces. Ms. Dean stated that she witnessed this
quantity of methamphetamine in the possession of Mr. Jason
Easley, another defendant in the courtroom today. She also
stated that she lived with Easley in Houston, Texas for a
period of time.

Ms. Dean went on to say that she -- the largest quantity of
GHB she'd ever seen at one time was 24 to 32 ounces. Ms. Dean
stated the largest quantity of methamphetamine she had ever
distributed was an eighth of an ounce. Dean identified a
person she knows as Eddie or LA, Michael Whisper -- Michael
Heaslet, also known as Whisper, 1 should say -- and Ashley
Simpson as three of her GHB sources. And she also stated that
she had received methamphetamine from an individual by the name
of Charles Boggs, who was also prosecuted in a previous round
of this investigation,
Q As were Mr. Heaslet and Ms. Simpson; is that right?
A As were Mr. Heaslet and Ms. Simpson. And itls our opinion,
the opinion of the investigators, that the Eddie she's
referring to is an individual named Eddie Maldonado, who was
also prosecuted.

Q And Mr. Maldonado was Heaslet's source for a period of

time; is that right?

 

 

 

 

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McCurdy - Cross 10

1 A Yes, sir.

2 Q Do you know who took Ms. Dean's statement?

3 A Um, --

4 Q 1 mean, were you the e-

5 A Yes.

6 Q -- one who took it?

7 A No, sir. 1 was not. 1t was TFO Crum, who's one of the

8 case agents, and another task force officer.

9 Q All right.

10 MR. SMITH: May 1 approach, Your Honor?

11 THE COURT: You may.

12 (Pause.)

13 MRt SMITH: 1've handed the witness an arrest -- a

14 local arrest report of Ms. Dean.

15 BY MR. SMITH:

16 Q 1 know you're not the arresting officer on that, but can

17 you just summarize for us what -- what's was going on there the
18 day that this happened and the arresting agency?

19 A Yes, sir. Give me just a moment.

20 (Pause.)

21 A So, this is a report from the Hurst, Texas Police

22 Department in January of this year. Ms. Dean was in a vehicle
23 with two other people. When the officers encountered her, they

24 detected a small -- a strong odor of an alcoholic beverage

25 coming from her. Or, excuse me, coming from inside the

 

 

 

 

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McCurdy - Cross 11'

passenger compartment of the vehicle. Ms. Dean's eyes were
red, watery, and her eyelids appeared -- the officer described
as heavy. And she had some diminished fine motor skills. The
officer also interpreted Ms. Dean's behavior as being nervous.
At some point during this interaction, the officers learned
that she had a warrant for her arrest out of Arlington, Texas.
She was taken into custody. Dean gave consent for the officers
to search her purse. 1n that purse, the officers found a pink
glass pipe, commonly associated with smoking methamphetamine,
and a bowl. The bowl of the pipe had residue consistent with
methamphetamine use.
Q Was that the -- was that arrest -- why were the officers
there at the location?
A There was -- yes, 1 believe there was a -- 1 briefly caught
that. There was a -- 1 guess the interaction was based on a
call the Police Department received about a female acting
strangely outside of a Wal-Mart. The store manager stated he
believed this female might be on drugs. At some point 1 guess
that he observed her -- the report says, 1 should say, he
observed her laying on the ground and she appeared
unresponsive.
Q And that's in regards to Ms. Dean?

Uh, -- 1

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Q Or --
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The -- well, the other two -- the stop was based on that

 

 

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McCurdy - Cross 12

1 information and Ms. Dean was the only female in the vehicle.
2 The other two individuals in the vehicle were males.

3 Q Okay.

4 MR. SMITH: May 1 approach, Your Honor?

5 THE COURT: You may.

6 (Pause.)

7 y MR. SMITH: 1've handed that report to Ms. Dean's

8 attorney.

9 BY MR. SMITH:
10 Q Now, you said that Ms. Dean implicated Mr. Easley in some
11 form or fashion in her post-arrest statement; is that right?
12 A Yes, sir. That's correct.

13 Q And that’s the next defendant listed here, so let's just go

14 on to him, 1 suppose. 1 think he is on the criminal complaint,
15 starts on Page -- or discusses Mr. Dean on Page 7, Paragraph
16 14.

17 THE WITNESS: Mr. Easley?

18 THE COURT: Mr. Easley?

19 THE WITNESS: Mr. Easley?

20 MR. SMITH: 1'm sorry. Mr. Easley. Thank you.

21 THE WITNESS: 1 believe that's Page 8, Paragraph 15.

22 MR. SMITH:
23 Q Excuse me, Page 8, Paragraph 15, yes. Okay. Mr. Easley.

24 Can you tell us -- can you summarize for us Paragraph 15, which

25 goes on to Page 9 as well?

 

 

 

 

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McCurdy - Cross 13

A Yes, sir. Co-conspirator Eddie Maldonado, who 1've
mentioned earlier 1 believe that's the same Eddie Ms. Dean made
reference to in her post-arrest statement, identified Jason
Easley as a member of the conspiracy. Specifically, Maldonado
stated he had supplied eight ounces of methamphetamine to Mr.
Easley on behalf of co-conspirator Michael Heaslet, who 1 also
mentioned earlier.

Based on the search warrant, we were able to search Mr.
Heaslet's phone. There was a phone number saved under the
contact name Jason. That phone number is 832-593-3786.
There's a series of text message conversations between that
number, between Jason's phone and Mr. Heaslet's phone. One of
the messages sent from the Jason phone to the Heaslet phone
reads or includes the phrase "a zip and a half." 1 would add
that that same phone number that 1 just provided is also
associated with Mr. Easley's Facebook account.

Subseguent to that, we obtained a search warrant for that
Facebook account. 1n the information we received back from
Facebook, we were able to locate a series of text messages
between Mr. Easley's account and Ms. Dean's account. For
example, on March the 3rd of this year, Ms. Dean sent Mr.
Easley -- a message was sent from Ms. Dean's account to Mr.
Easley's account that reads, "1 need a half of a whole one."

The response from Mr. Easley's account reads, "Okay. 1 got to

run to my homeboy's shop first. What are you going to pay?"

 

 

 

 

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McCurdy - Cross

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1 Q So what does that sort of indicate to you what's going on

2 there?

3 A All of those terms involve, those terms, 1 mean, a zip and

4 a half, a whole of a halfy those are terms that are commonly

5 associated with drug distribution, drug trafficking. So

6 they're negotiating drug deals.

7 Q And so a half and a whole one might be a half an ounce and
8 a whole, and one whole ounce is one and a half ounces?

9 A 1t's a half of a whole, so in my reading of that she's
10 asking for a half-ounce of methamphetamine.
11 Moving on to the next page for some related information, --
12 Q And then, --
13 A Oh.
14 Q -- "Okay. 1've got to run to my homeboy's shop," what does

15 that indicate?

16 A That indicates to me that Mr. Easley didn't have the drugs

17 on him, he had to go pick up the drugs from someone else.
18 Q Okay.

19 A Moving on to some related information on the following

20 page, we also obtained a federal search warrant for the cell

21 phone of Al Rogers. Stored on that device was another Facebook

22 conversation between Mr. Easley's account and Mr. Rogers'

23 account. 1n that conversation, there was a series of text

24 messages sent in approximately July of 2016, which was just

25 prior to Mr. Rogers being arrested on some other drug charges.

 

 

 

 

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McCurdy - Cross 15

1n that conversation, Mr. Easley sent Mr. Rogers a message that
reads, "Give me a call if you need some work." The term "work"
is also frequently used as code language for drugs. At another
point in that same conversation, Rogers asked Easley, "What you
wanting?" The reply from the Easley account reads, "Just a few
zips." Again, the same term that we saw used between Mr.
Easley and Ms. Dean.
Q And a zip is an ounce of meth?
A A zip is commonly used to refer to an ounce of
methamphetamine. Or an ounce of drugs.

The next message in the series, also from the Easley
account, reads, "Do 1 need to buy more?"
Q Now, there's some other information from Mr. Easley's
Facebook account, some more conversation between Mr. Easley and
Ms. Heather Dean.` 1s that right?
A Yes, sir, it is.
Q Just -- 1 know there's lots of information in those
accounts, but can you highlight just what you think is
important, perhaps?
A Yes, sir, if you'll bear with me a moment while 1 find
that. (Pause.) So, in January of this year, there was a
Facebook Messenger conversation between Mr. Easley's account
and Ms. Dean's account. One of the messages sent from Mr.

Easley on January the 31st -- it's on Page 500 of the response,

to be precise -- reads, "We have assault rifles. 1t wouldn't

 

 

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McCurdy - Cross 16

be a good scene. We were actually on our way to the range. Be
there in about 30 minutes."

Several messages down, about one, two, three, four, five,
six, approximately six messages down, in the same conversation,
but it's only -- it's less than two minutes later according to
the timestamp, Ms. Dean sends a message that reads, "Any wawa?"
My interpretation of that is that she's asking for -- that's
another word for GHB. The term water is commonly used. So 1
believe she's asking Mr. Dean for -- excuse me, Mr. Easley --
for GHB at that point in the conversation,

Q And of course, Mr. Easley, both Mr. Easley and Mst Dean are
felons; is that right?

A Yes, sir. 1 have reviewed their criminal histories.

Q That's okay. The Court has the Pretrial Service report.
We don't have to go into --

A Yes, sir.

Q -- that in detail. Let's go on to Mr. Penneston, 1
believe, is the last one on that complaint. And he is
referenced in Paragraph 18 on Page 11 of the complaint.

A Yes, sir.

Q Can you summarize that information for us, please, as
relates to Mr. Penneston?

A Yes, sir. Co-conspirator Will Orozco, who was -- 1

believe he was prosecuted in '16, but it may have been '15, on

a related methamphetamine case -- identified John Wesley

 

 

 

 

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McCurdy - Cross 17

Penneston as a methamphetamine distributor. Specifically,
Orozco stated that he, Orozco, witnessed Penneston obtain two
ounces of methamphetamine from Matthew Rutledge, who was also
prosecuted. Mr. Rutledge was prosecuted in 2015. Mr. Orozco
witnessed Mr. Penneston obtain two ounces of methamphetamine
from Mr. Rutledge on two occasions. Mr. Orozco stated he
observed Mr. Penneston using Rutledge's Cadillac to deliver
Rutledge's methamphetamine to customers. Additionally, Orozco
stated he witnessed Penneston obtain one ounce of f
methamphetamine from an individual by the name of Chris
Nicholson at Mr. Penneston's girlfriend's apartment. Mr.
Nicholson was also prosecuted in a previous round of this
investigation.

Moving on, Mr1 Orozco stated this transaction took place
while Nicholson was on the run and after Rutledge was arrested
in August of 2015. Orozco --

Q And Nicholson was on the -- on the run from the warrant
that we had for his arrest; is that right?

A Yes, sir. He was on the run from our -- from our case,
from our warrant.

Q Go ahead.

A _Mr. Penneston witnessed -- or, excuse me, Mr. Orozco
witnessed Mr. Penneston in possession of multi-ounce quantities

of methamphetamine on multiple occasions. Orozco stated that

on two occasions he witnessed Penneston in possession of a

 

 

 

 

 

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McCurdy - Cross 18

black Sig pistol while Mr. Penneston was participating in drug-
related activities.

Co-conspirator Leslie Owens confirmed that Mr. Penneston
was involved in drug distribution, methamphetamine
distribution. Specifically, Owens stated on a daily basis for
approximately a three-month period, she witnessed Penneston
deliver four-ounce quantities to Al Rogers, who 1 mentioned
earlier when 1 was discussing Mr. Easley and Ms. Dean.

Q Now, 1 believe Mr. Penneston gave a statement when he was
arrested as well; is that right?

A Yes, sir. He did. 1 interviewed him.

Q Okay. What did Mr. Penneston say?

A He acknowledged soliciting Matthew Rutledge for drugs but
he claimed that Mr. Rutledge never actually provided him the
drugs. Bear with me a moment while 1 find those notes.
(Pause.) There we are. Mr. Penneston stated that he first
used methamphetamine in approximately 2012 or 2013. He
identified his -- his mother is a woman by the name of Kelly
Dwyer. 1'll return to her in a moment. When asked about the
largest quantity of drugs he'd ever seen in any one place at
any one time, Mr. Penneston said that was eight ounces. And 1
believe that was related to an older event in -- 1 don't recall
the exact time frame, actually, but it was an older event.

More recently -- let me back.up. 1 misspoke earlier. The

most, the largest quantity of drugs Mr. Penneston stated that

 

 

 

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McCurdy - Cross 19

he ever obtained from Mr. Rutledge was $30 or $40 quantities.
We asked -- what 1 asked him about was making deliveries for
Mr. Rutledge, and Mr. Penneston indicated that Rutledge would
not allow him to make the deliveries. However, we have text
messages from Mr. Rutledge's phone that are consistent with
them conducting transactions.

Back to Mr. Penneston's statement. The most recent
transaction that he discussed was he middled a deal sometime --
Q What? Oh, middled?

A He middled, where he facilitated a drug transaction
sometime in the last six months. 1 believe it was towards the
beginning of 2017. And that was for approximately one-eighth
ounce of methamphetamine.

Q So did it appear to you -- you said something about his
mother? Was that relevant?

A Yeah. 1'm glad you reminded me. That most recent
transaction involved her. She handed the drugs to Mr.
Penneston and he handed the drugs to a gentleman by the name of
Danny Floyd.

Q So his mother was the source?

A Yes. 1n that transaction.

Q All right. All right. Now, Mr. Rutledge -- it appears
from what you're saying that Mr. Penneston was minimizing his

involvement to some extent. 1s that fair?

A That's -- that was my interpretation of, yes, of the

 

 

 

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McCurdy - Cross 20

1 interview.
2 Q Okay. And Mr. Rutledge, was he at that time -- when he was
3 arrested, was he a member of the Aryan Brotherhood?
4 A Mr. Rutledge? 'Yes, sir.
5 Q And does Mr. Penneston have any affiliation?
6 A 1t's my understanding -- yes, he certainly has some
7 affiliation. 1t's my understanding that he is a -- at one
8 time, he was a prospective member, but he was not allowed to
9 formally join the organization.
10 Q Okay. All right. Now, before 1 move on to the next
11 complaint, 1 just want to ask kind of a broader question. 1s
12 it common in this conspiracy for people to come in and out of
13 state and local custody and to get arrested, make bond, that
14 sort of thing, and then start dealing as soon as they get out?
15 A Constantly. People are constantly in and out of police
16 custody.- So the roles of who's interacting with who changes on
17 a regular basis.
18 Q All right. Now, let's move on to the next complaint, which
19 is -- 1 think the first defendant here is Troy Bell. That's in
20 4:17-MJ-589.
21 A Yes.
22 Q Do you have that there in front of you, --
23 A Yes, sir, 1 do.

24 Q -- the criminal complaint? Okay. All right. Let's talk

25 about Mr. Bell first. Let's see. 1 believe he's discussed

 

 

 

 

 

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McCurdy - Cross 21
beginning on Paragraph 12, Page 5, which has -- which continues

on to Page 6. And 1 believe that's it. So, can you summarize
for us kind of what's going on, the information we have as it
relates to Mr. Troy Bell's drug trafficking activities?

A Yes, sir. A co-conspirator who was prosecuted on a related
case by the name of Lee Baker identified Troy Bell as one of
his, one of Baker's methamphetamine customers. Let me restate
that. Baker said that he witnessed Dustin Bell distribute
between one-eighth and one-sixteenth ounce of methamphetamine
to Troy Bell on two or three occasions.

Q Are they related? 1

A 1t's my understanding they're brothers. 1'm not 100
percent on that, but 1 believe Mr. Baker described them as
brothers.

Q Okay. Go ahead.

A Baker also stated he witnessed Troy Bell in possession of
an eighth ounce of methamphetamine, or a quantity between one-
eighth and one-quarter ounce of methamphetamine on three
additional occasions. Another co-conspirator who was
previously prosecuted, Jonathan Ruckman -- actually, 1 don't
believe Mr. Ruckman spoke about Troy Bell. However, co-
conspirator Mandy Turner, who was prosecuted last year on a
related case, confirmed that Troy Bell was involved in

methamphetamine distribution. Specifically, Turner stated she

witnessed Troy Bell weighing between three and four ounces of

 

 

 

 

 

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McCurdy - Cross 22

1 methamphetamine on five occasions and one to two ounces of

2 methamphetamine on three additional occasions. And 1 believe

3 that was older information that was further back in history,

4 the information that she talked about. Approximately -- 1 want

5 to say approximately 2011, 2010-2011, for -- regarding Ms.

6 Turner's statement.

7 Q Versus the information that Baker provided?

8 A 1 believe the information that Mr. Baker provided would

9 have been more recent.
10_ Moving on, another co-conspirator, Lauren Moore, identified
11 -- Ms. Moore was previously prosecuted -- identified Troy Bell
12 as a methamphetamine distributor who she had witnessed in
13 possession of three ounces on one occasion. Ms. Moore admitted
14 that she had obtained a quarter-ounce on one occasion from Troy
15 Bell. And she also stated that she had witnessed Troy Bell
16 deliver one-eighth ounce of methamphetamine on one occasion.
17 On a -- additionally, Ms. Moore witnessed Troy Bell in
18 possession of one-half ounce of methamphetamine.
19 Q Okay. And Mr. Bell has multiple felony convictions; is
20 that right?
21 A Yes, sir. According to the information 1 have in front of
22' me, convictions for -- at least one conviction for theft, three
23 for possession of a controlled substance, two for unlawful

24 possession of a firearm by a felon; another for burglary of a

25 building, and one for evading arrest or detention with a

 

 

 

 

 

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McCurdy - Cross 23

vehicle.
Q Okay. All right. Let's move on to Ms. Glenn. She is
referenced in or discussed in -- she'd discussed a little bit
in Paragraph 12, it looks like, on Pages 5 and 6. 1s that the
extent of it? Am 1 missing -- 1 think that's it. Page --
sorry.
A .1n regards to the complaint, 1 only see Pages 5 and 6.
Q Okay. Go ahead. 1 think you -- 1 should have asked you to
summarize her information, too, when you talked about Mr. Bell.
So it looks like Dustin Bell, Troy Bell, and Karrissa Glenn
kind of worked together to some extent. 1s that right?
A According to the information provided by Mr. Baker, yes.
Well, Mr. Baker detailed Dustin Bell and Troy Bell working
together. Mr. Ruckman, who 1 also mentioned earlier, detailed
Dustin Bell and Ms. Glenn working together.
Q Okay.
A Mr. Ruckman stated that he -- that Dustin Bell was one of
his methamphetamine sources of supply in 2015, and that Ms.
Glenn accompanied Dustin Bell on transactions. Specifically,
Mr. Ruckman stated that on at least 15 to 20 occasions, Ruckman
purchased one ounce of methamphetamine from Dustin Bell.

More to the point on Ms. Glenn, Lauren Moore, who also
provided information about Troy Bell, identified Dustin Bell

and Ms. Glenn as methamphetamine distributors. She witnessed

-- distribute quarter-ounce on one occasion to Katherine

 

 

 

 

 

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McCurdy - Cross 24

Markel, who is charged in a related case on this round. She
also stated she witnessed Dustin Bell and Ms. Glenn in
possession of one and a half ounces of methamphetamine on that
same occasion.

Q And along with Mr. Bell -- Mr. Bell was arrested, too, on
July 21st. 15 that right?

A Troy Bell was. Dustin Bell was --

Q 1'm sorry. Troy Bell. And Ms. Glenn was also arrested on
that same day?

A Yes, sir.

Q 'Did she make a statement?

A Yes, sir. She did.

Q And what did Ms. Glenn say?

A This is another interview that 1 did not participate in but
1 do have a draft copy of the report in front of me. Ms. Glenn
stated that she first used methamphetamine at age 15. She said
-- she admitted to delivering methamphetamine at the direction
of an individual named Michael Brabson, who 1 believe is the
father of her child. She delivered those drugs to multiple
customers, including R.V. Kerr, Jonathan Ruckman, who 1
mentioned earlier, Rachel Adams, and an unknown Hispanic male.
1n addition to Mr. Ruckman, Ms. Adams and Mr. Kerr have also
been charged in related cases. And convicted.

Q So she kind of confirmed what Ruckman and 1 believe Moore

had said about her activities?

 

 

 

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McCurdy - Cross 25

1 A Yes. Yes. 1t would seem to corroborate the information
2 from the other interviews.
3 Q Okay.
4 A Ms. -- at one point in the interview, Ms. Glenn admitted
5 that on approximately five occasions she delivered one-half
6 ounce quantities of methamphetamine to Mr. Ruckman at the
7 direction of Mr. Brabson. She also gave some details of the
8 other deliveries to Mr. Kerr and Ms. Adams, again,
9 corroborating information from the other statements.
10 Q ' Okay.
11 A 1f you'll bear with me one moment, 1 have one more piece of
12 relevant information on that. (Pause.) We can come back to it.
13 1 can address it later.
14 Q Do you need more time to look for the information?
15 A 1 can address the other information later.
16 Q Okay. All right. Let me --
17 MR. SMITH: May 1 approach, Your Honor?
18 THE COURT: You may.
19 BY MR. SMl'l`H:
20 Q Will you please review that report and just kind of
21 summarize what's going on there --
22 A Yes, sir.
23 Q -- as relates to Ms. Glenn?

24 (Pause.)

25 A So, this is a Fort Worth Police Department report from

 

 

 

 

 

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Case 4:.

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McCurdy - Cross 26

April 2, 2015 related to a traffic stop that occurred. The
report lists the driver of the vehicle involved in the traffic
stop as a Nicholas Bell. 1t lists Ms. Glenn as a passenger of
the vehicle who was arrested, Another passenger of the vehicle
by the name of Jackie Ohler. And Dustin Bell, who 1 mentioned
earlier, is listed as a witness.

THE COURT: Whatls the date On that?

THE WITNESS: April 2, 2015.

THE COURT: Thank you.

THE WITNESS: The traffic stop led to a search of the
vehicle. During the search of the vehicle, the officer
encountered a backpack in the back seat. When the officer --
Ms. Glenn was sitting next to the backpack. Ms. Glenn stated
that her mother packed the backpack for her. The officer asked
her if it was her backpack, and she said yes. When the officer
searched the backpack, he found a glass pipe with some burnt
markings, two spoons, some empty syringes. There was a
quantity of methamphetamine discovered that the officers
weighed out at .2 grams.

Q So that's kind of a use quantity?

A 1t's a very small quantity.

Q And she indicated, or at least the report indicates that
she told officers that her mother packed the bag?

A Yes, sir. My mom packed the -- the -- in quotes in the

report is a statement from Ms. Glenn that reads, "My mom packed

 

 

 

 

 

 

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McCurdy - Cross 27

that backpack for me."

Q Okay. But she was -- and she was arrested from that?

A Yes.

Q At least the report indicates that?

A Yes. She --

Q But at that traffic stop, she was in the car with Dustin
Bell?

A He's listed as a witness. Let me see. (Pause.) Mr.
Bell, Dustin Bell, actually walked up to the traffic stop on
foot. So he was not in the vehicle at the time. Mr. Bell
walked up and spoke with officers. He told the officers that
all of the occupants of the vehicle were out driving around
looking for him since he got in a verbal argument with his
girlfriend.

Q And that would have been Ms. Glenn at the time?`

A The report doesn't specifically say that that 1 see, but
that's -- our understanding is that they were boyfriend-
girlfriend during that time period.

Q Do you recognize any of the other names in the arrest
report?

A There's a Nicholas Bell listed as the driver. 1t's
obviously the same last name as Dustin Bell and Troy Bell, but
1'm not familiar with Nicholas.

Q Okay.

MR. SM1TH: May 1 approach, Your Honor?

 

 

 

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McCurdy - Cross 28

THE COURT: You may. Thank you.

MR. SMITH: And 1've handed Ms. Glenn's attorney that
report.
BY MR. SMITH:
Q Let's -- 1 think the last defendant here is Angel Norris.
A Yes, sir.
Q Let's talk about Ms. Norris a little bit. And it looks
like he is -- some information is summarized about him --
A Her.

THE COURT: Her.

MR. SMITH: -- on Paragraph --

THE COURT: Are you talking about Ms. Norris?

MR. SMITH: 1'm sorry. Her. Angel Norris. Sorry.
Angel Norris. On Paragraph 17, Page 9. 1s that right?

THE WITNESS: Yes, sir.
BY MR. SMITH:
Q All right. Can you tell us a little bit about Ms. Norris'
drug trafficking activities identified in that paragraph?
A Yes, sir. Co-conspirator Lee Baker, who 1 mentioned
earlier, identified Angel Norris as a methamphetamine
distributor. Mr. Baker witnessed Dustin Bell distribute one-
quarter to one ounce -- one-quarter to one-half ounce
quantities of methamphetamine to Norris on more than five

occasions. Baker stated he had also witnessed Norris obtain

four ounces of methamphetamine on three occasions from another

 

 

 

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McCurdy - Cross 29

individual by the name of Lacey Whisenant, who was prosecuted
on a related case. Mr. Baker and Ms. Whisenant were partners
in the drug trade for a period of time.

Separately, another co-conspirator by the name of Michael

Stepich confirmed that Norris was involved in drug

ldistribution. Specifically, Stepich stated that he had seen

Norris with three ounces of methamphetamine on one occasions,
two ounces on two occasions, and one ounce of methamphetamine
on 10 to 15 occasions. Stepich also stated that he had sold
Norris one-quarter ounce of methamphetamine on one occasion.
Q All right. Let's --

MR. SMITH: May 1 approach again, Your Honor?

THE COURT: You may.

.MR. SM1TH: And 1'm handing the witness another Fort
Worth Police Department report.
BY MR. SMlTH:
Q Will you please review that and tell us what's going on
there? 1dentify the date and the location.
A Yes. 1'm actually familiar with this one. This is a Fort
Worth Police Department report dated December 17, 2015. 1t
relates to a traffic stop. There were four vehicles -- four
people, rather, in the vehicle that was stopped. A Billy
James, Tiffany Cavanaugh, Rick Disney, and then Ms. Norris.

During a consent search of the vehicle after all the occupants

exited, officers located a digital scale with five clear

 

 

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McCurdy - Cross ` 30

1 plastic baggies inside of a purse. Both Ms. Norris and Tiffany
2 Cavanaugh advised that that purse belonged to Ms. Norris.

3 1nside of Ms, Norris' pants, the officers discovered a clear

4 glass pipe with white residue wrapped inside of a bandana that
5 the officers associated with methamphetamine use. One of the

6 officers also discovered a clear plastic bag containing

7 methamphetamine in Ms. Norris' underwear. That methamphetamine

8 weighed approximately 26 grams, or almost an ounce.

9 MR. SMITH: May 1 approach, Your Honor?
10 THE COURT: You may.
11 MR. SMITH: 1'm handing that to Ms. Norris' attorney.

12 BY MR. sMITH:'

13 Q Now, there's also some other information as it relates to
14 Ms. Norris 1 believe off of some Facebook accounts. Can you
15 discuss that for us?

16 A Yes, sir. We also obtained a federal search warrant for
17 Ms. Norris' account, just like Mr. Easley's. We just recently
18 obtained that one. 1've only had opportunity to review a

19 portion of that account. But 1 have discovered several

20 conversations involving drug transactions or drugs.

21 Specifically, the information 1 mentioned earlier was a

22 Facebook Messenger conversation between Ms. Norris and Ms.

23 Glenn.

24 Q Karrissa Glenn?

25 A Karrissa Glenn, the co-defendant. 1n a conversation dated

 

 

 

 

 

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McCurdy - Cross 31

March the 12th, 2015, Ms. Glenn sends Ms. Norris a message that
reads, "1 need some shit." A few months later, in May of 2015,
a message is sent from Ms. Norris' account to Ms. Glenn's
account that reads, "Got fire." Both of those terms in this
context, shit and fire, are, in our experience, in my
experience, are code languages for drugs. For methamphetamine
in particular.

Later in the same month, another message -- so, the date of
this conversation is May the 29th, 2015. A message is sent
from Ms. Glenn's account to Ms. Norris' account that reads,
"You got any shit?" The reply from the Norris account is,
"Yeah, how much do you all need?"

The next message in that conversation, which is early in
the morning hours of the following day, May the 30th, 2015,
from Ms. Glenn reads, "1 have a solid silver chain." My
interpretation of that is that she was offering to pay for the
drugs with a piece of jewelry, that Ms. Glenn was offering to
pay for the drugs with a piece of jewelry.

Q 1s there more recent things on Ms. Norris' account?

A Yes.

Q That's kind of historical information that kind of
corroborates what you've already testified to; is that right?
A That's correct. (Pause.) 1n a conversation found in Ms.

Norris' account during the time period of late May 2016, so

roughly a year later than the last messages 1 just mentioned, a

 

 

 

 

 

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McCurdy - Cross 32

message was sent from the account of Bryan Manous to Ms.
Norris' account that reads -- well, let me back up one. The
Norris account, Ms. Norris sent a message that reads, "Whatcha
doing?" Mr. Manous replies, "Pimping. You?" Ms. Norris then
sends a message that says, "Trying to make some money. 1've
got some A-l." Again, 1 would also describe A-l as code
language for drugs.

Q Do you know that individual that Ms. Norris was talking
about? Or talking to, 1 mean.

A Talking to? Ryan Manous? His name is familiar to the
investigation. He hasn't been charged by us, but 1 recognize
the name.

Let me fast-forward to 1 believe it's approximately
September of last year. There is a -- on September 23rd of
2016, there's a message sent from the Facebook account of Mary
Mayfield, who is also familiar to the investigation, to Ms.
Norris that reads, "Hey, girl. You got anything? This is me,
Mary. 1 got some cute clothes and new bottle of perfume and
new purse." The reply from Ms. Norris"account is, "Yeah.
Give me a few. 1 will call you back. 1'm off Cherry Lane.
You'll have to come to me."

The next message from Ms. Mayfield, continuing the
negotiation, is, "Where will that be? 1'll come to you, girl.

My old man has caught fever. `1'll hook you up, though. Got a

bunch of cute stuff." My interpretation of that conversation,

 

 

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McCurdy - Cross 33

1 much like the other one 1 described earlier, is she's offering
2 to trade items for the drugs.

3 Additionally, in a -- to back up a few months to May of

4 2016 again, in a conversation between Ms. Norris' account and
5 the account of Conner Bryce, who is also known to the

6 investigation, Ms. -- a message was sent from Ms. Norris'

7 account to the Bryce account that reads, "Say, 1 need you to

8 smash on this little shit-talking bitch named Brittany. 1'm

9 fixing to pop her. 1 would." And the reply from Ms. Bryce is,
10 "Okay. Brittany who? 1 will, babe. 1 got you."
11 Q What does that indicate?
12 A That Ms. Norris is soliciting assault, an assault on
13 someone. 1 don't know if it was drug-related or not.

14 Q Was there an event, a conversation in October of 2016 that

15 was --

16 A That is what 1'm trying to find now. (Pause.) While 1'm
17 looking for it, 1 will -- 1'll summarize it from memory. 1
18 just reviewed it last night. 1t's -- there's a drug-related

19 Facebook Messenger conversation between Ms. Norris' account and
20 the account of an individual named Angela Hardy discussing drug
21 transactions. And this is in approximately September or

22 October of 2016, And in the conversation, Ms. Norris mentioned
23 that she had her baby with her. 1'm still trying to find that

24 particular conversation, though.

25 (Pause.)

 

 

 

 

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McCurdy - Cross 34

A This is not the conversation 1 just described, but it is a
more recent conversation in October -- dated October the 18th,
2016. 1t's a conversation between Ms. Norris' account and an
individual by the name of Jeremy Baxton Dickinson. 1 am not
familiar with him. The Norris account sends a message that
reads, "Hey, can you get me some shit?" Mr. Dickinson replies,
"How much?" The next message from Mr. Dickinson reads, "1 got
it." The next message from -- sent from the Norris account
reads, "Can 1 get two for 50?"
Q 1 think that's enough. 1 think we understand.
A Yes, sir.
Q All right.

MR. SMITH: 11 don't have any further questions, four
Honor.

THE COURT: Okay. Let's move to cross-examination.
And we'll start at the front. Mr. Davis, do you have any
cross-examination?

MR. DAVIS: May 1 have just one brief second --

THE COURT: You may.

MR. DAVIS: -- to talk to my client, Your Honor?

THE COURT: You bet.

(Pause.)
MR. DAV1S: Your Honor, just a few questions, if 1

could.

THE COURT: You may.

 

 

 

 

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McCurdy - Cross 35

1 CROSS-EXAMINATION
2 BY MR. DAVIS:
3 Q Sir, with respect to the quantity of methamphetamine found
4 when Ms. Dean was arrested, do you have enough information to
5 be able to characterize it as a user quantity or a
6 distribution-level quantity? Or can you say?
7 A Bear with me a moment, please.
8 Q Certainly.
9 (Pause.)
10 A 1 believe 1 said earlier, but just to clarify in case 1
11 didn't, 1 was not present for Ms. Dean's arrest. A team from
12 Texas DPS arrested her. So 1 have a draft copy of their report
13 that 1 reviewed. They describe the drugs that were found as "a
14 small baggie of crystal-like substance believed to be
15 methamphetamine."
16 Q Okay. So no more information than that?
17 A That's all 1 have at this point.
18 Q Okay. Did you describe some Facebook Messenger messages
19 between Ms. Dean and Mr. Easley?
20 A Yes, sir.
21 Q And you may have said it and 1 missed it, but when did
22 those occur? What kind of time frame were we talking about
23 there?

24 A 1 believe the most recent conversations were in March or`

25 April of this year.

 

 

 

 

 

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McCurdy - Cross 36

Q Okay. And were those conversations the ones about what you
believed was code language for drug transactions?
A 1'll have to double-check.

(Pause.)
A There is -- 1 don't -- 1'm not sure -- 1 don't believe,
actually, that this was the exact message that 1 mentioned
earlier, but there is a message from -- sent from Ms. Dean to
Mr. Easley on May the 6th of this year that reads, "Does anyone
out here mess with that wawa?" And as 1 described wawa
earlier, that's generally code language for GHB.
Q And that's a message from Ms. Dean to Mr. Easley?
A Yes, sir.
Q Okay. And how did -- read it again,
A "Does anyone out here mess with that wawa?"
Q Why would she phrase something that way if it was directed
to a specific individual? 1 mean, doesn't that strike you as
odd?
A 1 would interpret that two possible ways. My
interpretation of that is either that she's looking to buy some
or she‘s looking to sell some. She's either looking for a
source or she's looking for customers.
Q Okay. But why would she phrase it that way if it was
directed specifically to one individual?

A My interpretation would be that she's hoping that he can

broker some transactions, she can introduce him either to a

 

 

 

 

 

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McCurdy - Cross 37

1 source of supply -- he can introduce her, rather; 1 misspoke --
2 he can introduce her to either a source of supply or some

3 customers.

4 Q And prior to that message, when was the last message

5 between the two of them that you would characterize as a

6 narcotics transaction type message --

7 A Hmm, --

8 Q -- or communication?

9 A There are a lot of conversations between the two.
10 Q When was the most recent one prior to that May one you just
11 related?
12 A 1 don't have the entire account with me, but 1 will review
13 my notes, but understand that the -- on this particular

14 account, the return we received from Facebook is over 2,900

15 pages.
16 (Pause.)
17 THE COURT: Understanding you're going to get all of

18 these, is the question relevant --

19 MR. DAv:s: Well, --

20 THE COURT: -- to like how often they were happening
21 or just the most recent? 1 want to make sure we're using our
22 time effectively.

23 MR. DAV1S: No, and 1 can understand that, Your Honor.

24 Maybe 1 -- let me -- 1 guess the point of that is with respect

25 to recent activity as it would pertain to whether my client

 

 

 

 

 

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McCurdy - Cross 38

1 should be detained or not, --

2 THE COURT: Okay.

3 MR. DAV1S: -- is really where 1'm going with that.
4 THE COURT: Okay.

5 MR. DAVIS: So let me --

6 THE WITNESS: If 1 may?

7» BY MR. DAVIS:

8 Q Please.

9 A 1 did find the message 1 described earlier.

10 Q Yes.

11 A 1 can't say that it's the -- there may be other messages
12 between the one that 1 just detailed to you and the one that 1
13 described earlier during my initial testimony, but the message
14 1 detailed initially when Ms. Dean sends a message that says,
15 "Any wawa?" is dated January 31st of this year.
16 Q Of this year? Okay.
17 A But again, there may be additional messages between those
18 two that 1 don't have in front of me.
19 Q Okay. All right. Well, thank you.
20 THE COURT: Thank you.
21 BY MR. DAVlS:
22 Q And then with respect to this January, what is it, 17th
23 incident in Hurst, are you aware that that was no-billed by a
24 Tarrant County grand jury on April 24th?

25 A No, sir, 1 was not.

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McCurdy - Cross 39

Q Okay.
THE COURT: On both -- let's see. There were two
possession of controlled substance charges.
MR. DAV1S: Yes, sir. Possession less than one ounce
and --
THE COURT: The whole thing was no-billed?
MR. DAVIS: Both of them. Yes, Your Honor.
THE COURT: Thank you.
MR. DAV1S: 1'll pass the witness, Your Honor.
THE COURT: All right. Cross-examination, Mr. Green?
MR. GREEN: Thank you, Your Honor. 1'll be brief.
CROSS-EXAMINATION
BY MR. GREEN:
Q Mr. Easley is not on parole or probation at this time, is
he?
A Not to my knowledge.
Q Okay. And where did you arrest Mr. Easley?
A 1 wasn't present. A.DPS team arrested him 1 believe in
Roby, Texas, out north of Abilene somewhere.
Q Do you know what he was doing out there?
1 don't.

Okay. Would it surprise you if he was at his workplace?

Y K) >

No, it would not.
Q Okay. And Mr. Easley was not with Ms. Dean when she was

arrested?

 

 

 

 

 

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McCurdy - Cross 40

1 A Correct.
2 Q Okay. Did you record the interview with Ms. Dean when she
3 allegedly implicated Mr. Easley in this offense?
4 A 1 wasn't present but 1 can review the notes.
5 Q Please.
6 (Pause.)|
7 A Mr. Green, 1 only have a draft copy of the report in front
8 of me, but 1 don't see any mention of a recording.

9 Q Thank you, sir. And in the text, 1 believe you said
10 January 3lst, between Mrs. Dean and Mr. Easley about the wawa,
11 you called it?
12 A Fortunately, 1've saved that page so 1 don't have to look
13 again, Yes, sir.
14 Q Okay.
15 A That's a --
16 Q You knew 1'd go there. He doesn't write back saying, "1'll
17 go get you some" or something, does he? To that effect?
18 A So, the next response from Mr. Easley in that conversation,
19 there's a series of several from Msi Dean, including the one
20 with "Any wawa?", there's a reply from Mr. Easley in that same
21 conversation, same day, "Yes wawa. Don't know about the days,
22 but it's considerably colder here. You can get rest on next
23 trip."

24 Q Uh-huh.

25 A So the beginning portion of that, in case 1 spoke too

 

 

 

 

 

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McCurdy - Cross

quickly, is "Yes wawa."

Q "Yes wawa?"

A Yes.

Q Okay. But he doesn't specifically say he's going to go get
that for her or anything, does he?

A My interpretation of that is that -- again, 1'm not certain
about the context, whether she's looking for customers or a
source of supply, --

Q Uh-huh.

A -- but 1 interpret your client's response that he can
facilitate that.

Q Okay. The thing about the gun, the assault rifles, nobody
says they saw Mr. Easley with an assault rifle, did they?

A Are you referring to the message 1 described?

Q Yeah. There's another message, another Facebook message
about going to the range.

A 1t's during that same conversation, same day, January 31st

of this year, --

Q Uh-huh.

A -- when Mr. Easley sends a message that says, "We have
assault rifles. 1t wouldn't be a good scene. We were actually
on our way to range. Be there in about 30 minutes." "30
mins."

Q Nobody's -- but you don't have any other information that

somebody actually saw him with a gun? _Or you didn't catch him

 

 

 

 

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McCurdy - Cross 42

with a gun, did you?
A Are you talking -- he was not arrested with a gun.
Q Okay. d
A You're talking about the case overall?
Q Yes. 1 didn't see it in the complaint and that's why 1'm
kind of interested there.

(Pause.)
A There is a -- bear with me. 1'm looking for a particular
conversation between Mr. Easley and a person who 1 believe is
one of his -- we would describe as one of his methamphetamine
customers. (Pause.) So, 1 have not reviewed this entire
account, but the incident that 1 was thinking of, 1 don't see
any mention of a gun.
Q Okay.
A So, to try to answer your question better, at this point 1
can't think of anyone else associating with him -- other than
him associating himself, 1 can't think of anyone else who
associates him with a firearm.
Q Thank you.
A Yes, sir.
Ql And then our next obvious question is, did the arresting
officers catch Mr..Easley with any methamphetamine during this
conspiracy?

A When he was picked up on our case? No, sir.

Q Okay. Or any other illegal drug?

 

 

 

 

 

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McCurdy - Cross 43
A No, sir.
Q All right. You talked earlier about a text -- and forgive
me, 1 kind of missed part of it -- but it was to a man named

Jason. Between Mr. Easley and Jason?

A No. Mr. Easley being Jason. So it was between -- 1
believe we have two series of messages. 1s that in the -- are
you referring to information in the complaint?

Q No. 1t was just earlier in your testimony,

A Well, just to be sure, in the complaint, Paragraph 15, --
Q Uh-huh.

A -- it talks about a series of text messages between the
phone of Michael Heaslet, who received a life sentence on a
related --

Q Yes, he did.

A -- a related conviction, and the phone number that's saved
as Jason. And 1 will say that that number that's associated
with Jason, the number that 1 read earlier, is the same phone
we pinged, the same phone number we pinged to locate your
client,

Q Okay. And when did these texts occur?

A 1 believe it was roughly late 2015/early 2016.

Q Okay. And did you have a warrant to search Mr. Easley's
phone?

A We got that information from Mr. Heaslet's phone.

Q Okay. Did you have a warrant to search his phone? From

 

 

 

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McCurdy - Cross 44

Heaslet's phone?
A Yes, sir. A federal search warrant.
Q Okay. And do you know for a fact that that number is Jason
Easley's phone?
A 1'm quite confident it's Mr. Easley's phone number.
Q How do you know that?
A 1t's associated with his Facebook page and we used it to
locate him.
Q Okay. 1n the complaint, you don't state a connection
between Mr. Easley and a lot of the other people like Mr.
Penneston, Mr. Rutledge, Owens, Shaw, Nicholson. 1s that
correct?
A This is a very large -- 1'11 answer it this way. This is a
very large conspiracy. Every member is not necessarily related
to every other member,
Q Okay.- That's -- all right. Thank you.
A Yes, sir.

MR. GREEN: Pass the witness.

THE COURT: All right. Mr. St. John, do you wish to
have cross-examination?

MR. ST. JOHN: 1 have no questions.

THE COURT: Very good. Mr. -- or Ms. Romero, on
behalf of Mr. Bell, do you have cross-examination?

MS. ROMERO: Yes, Your Honor. Briefly.

THE COURT: You may proceed.

 

 

 

 

 

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sr Ms. RoMERo: b

Q Yes.

on Mr. Bell; is that correct?

A Yes,

Q Okay.

aren't they? Fifteen, sixteen, seventeen years old? 1s that

right?

A 1 will have to find his criminal history. 1 have it with

m€.

(Pause.)
Q Do you have a copy with you, or do you need a copy?

A 1 have a copy.

Q Okay.
A 1'm reviewing it now. 1t took me a while to get to the
end.

report.

reports.

McCurdy - Cross 45

CROSS-EXAMINATION
1'm sorry. You mentioned multiple felony convictions

ma'am.

And most of those felony convictions are pretty old,

THE COURT: He doesn't have the Pretrial Services

MS. ROMERO: Oh, okay.

THE COURT: He just has the NC1C.

MS. ROMERO: Okay:

THE COURT: That's why he's flipping so much.
MS. ROMERO: Oh, okay. 1'm sorry.

THE WITNESS: Yeah. 1 apologize. We don't see those

 

 

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McCurdy - Cross 46
1 MS. ROMERO: Oh, that's okay.
2 THE COURT: But Ms. Romero, my Pretrial Services

3 report shows there was a possession of controlled substance in
4 2010, where three years were -- the sentence was three years.
5 That's on Page 5 as to Mr. Bell. So 1 want to make sure you've

6 got all the same information.

7 Ms. RoMERo: night. night. 1 do.

8 THE COURT: Oh, okay. Go ahead.

9 Ms. RoMERo:' 1 do. 1 do. sur many --
10 THE COURT: You were saying the majority?
11 MS. ROMERO: But many of them, most of them, --
12 THE COURT: Gotcha.
13 MS. ROMERO: -- are 13, 14, 15 years old.
14 THE COURT: 1 understand. Thank you.
15 MS. ROMERO: Okay?

16 BY MS. ROMERO:

17 Q And the possession of the controlled substance in 2010, if
18 you have that in front of you -- if not, 1 can show you this so
19 that we can save time -- is under one gram. 1s that correct?
20 A That's what 1'm looking at. Yes, ma'am.

21 Q And one gram is a user quantity, is it not? Under one

22 gram?
23 A 1t is -- 1 would describe it as a distributable quantity.
24 Q Really? A distributable -- under one gram is a

25 distributable quantity?

 

 

 

 

 

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McCurdy - Cross 47

A Absolutely.

Q- Okay. So, and then another thing about this criminal
history -- and you may not be aware of this, but 1'11 ask you
anyway -- there is some double-counting here according to
Probation. They took one off because it was double-counted.
So there's some confusion about this long criminal history.
Are you aware of any of that?

A No, ma'am.

Q Okay.
A Again, we don't see those reports.
Q Okay.
A Sorry.

Q And one other thing on the criminal history. His evading
arrest, 1 believe that was a 2005 case. 1s that what you have
in front of you?

A 1 see --

Q Was a failure to identify.

A 1 see a conviction in 2005 for evading arrest or detention
with a vehicle.

Q Yeah. Okay. Now, you mentioned that -- first of all, let
me ask you, you talked about phone calls and Facebook messages
and text messages. Did you have any of that evidence during
your investigation on Mr. Bell, Mr. Troy Bell?

A We're not done reviewing everything. 1 will qualify with

that. But based on the information we have at this point, the

 

 

 

 

 

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McCurdy - Cross 48

information that 1 have in front of me, anyway, 1 should say,
we have one, two, three, four, five, six, seven, eight, nine,
ten, eleven co-conspirator statements, and based on my notes,
that's the bulk of our case against your client.

Q Eleven?

A Yes, ma'am.

Q You've testified about three.' Who are the other -- who are
the other nine?

A So, 1 don't -- 1'11 just list them off and so there may be
some that 1've already mentioned. Alisha Feeney.

Q Well, let's stop right there. What did Alisha say about
Mr. Bell? And her last name is what?

A Feeney. F-E-E-N-E-Y.

MR. SMITH: Your Honor, Ms. --

THE COURT: Hold on. Hold on.

MR. SMITH: Ms. Romero will get discovery and have all
the reports available for if she's looking for every statement
made against her client.

THE COURT: 1 understand. 1'm going to let you probe
some, but please let's not --

MS. ROMERO: Okay.

THE COURT: -- summarize all eleven.

MS. ROMERO: No, no, Your Honor.

THE COURT: We'll be here all day,

MS. ROMERO: 1 understand.

 

 

 

 

 

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McCurdy - Cross 49

THE CoURT: okay.

MS. ROMERO: 1 just, 1 just want to make sure that
there's no confusion between Mr. Troy Bell and the other Dustin
Bell --

THE COURT: Oh.

MS. ROMERO: -- that they were talking about, because
earlier 1 think he was kind of confusing the two, and 1 just
wasn't sure about that.

THE COURT: Okay. 1'll let you clear that up. 1f you
want to give the list of 11 and let Ms. Romero write them down,
and then you can ask some questions following up.

MS. ROMERO: Thank you.

THE WITNESS: Yes, sir.

THE COURT: 1t's also important for all defense
counsel to know, there -- 1 want to make sure we don't have
conflicts. So you'll want to do a conflicts check. There's a
lot of names here that we've been seeing over the last few
years. And 1 know all of you have been involved. We tried to
avoid that in making the appointments. But as you get names,
if you will please be diligent on checking for conflicts.
Hopefully, we did a good job.

Go ahead and answer as to the 11 names, if you will.

THE WITNESS: Yes, Your Honor. So, the first name 1

mentioned is Alisha Feeney. The last name is F-E-E-N-E-Y. And

1 just realized the next name that 1'm going to provide you is

 

 

 

 

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McCurdy - Cross 50

1 listed twice, so it's actually only 10 names, not 11. That

2 next name is Tiffany Bradberry.

3 BY MS. ROMERO:

4 Q Okay.

5 A The next name is Haldon Stikeleather.

6 Q Okay.

7 A The next name is Nicki Risovi. The next name is Lauren

8 Moore, who 1 believe is mentioned in the complaint. The next

9 name is Candace Whitten.

10 Q Okay.

11 A The next name is Leslie Payne. She may be mentioned in the
12 complaint. The next name is Chris Lee. The next name is Mandy
13 Turner, and 1 believe she's mentioned in the complaint. The

14 next name, the last name, is Lee Baker, who is mentioned in the
15 complaint.

16 Q And these people that you’ve interviewed about Mr. Bell,
17 did you -- how did they recognize him? 1 mean, did you show

18 them a picture or something of him, or how did -- how do you --
19 how did they identify him?
20 A 1 don't have all those reports in front of me. 1 can
21 review some. And 1 don't recall off the top of my head. 1 can
22 review what 1 have, if you'd like.
23 Q One of them, you said -- 1 guess it was Mandy Turner --
24 that information she gave was from activity that may have

25 occurred in 2010; is that correct?

 

 

 

 

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McCurdy - Cross 51

A As 1 recall, but it's from memory, that it was older
information around that time periodf And my notes indicate
that Ms. Turner indicated that your client was a drug customer
of a gentleman by the name of Joe Wethington.

Q And then Mr. -- 1 believe it's Mr. Baker, you talked about
him talking about Mr. Bell.

A Yes.

Q And you said it would have been more recent, his
information, where he supposedly observed Mr. Bell with some
quantities of methamphetamine. Do you know that time frame?

A 1 can only give you a rough estimate. 1 don't have dates
in front of me. 1'm familiar with Mr. Baker's involvement with
the conspiracy as being primarily in 2015.

Q But when he supposedly observed Mr. Bell, you don't know
when that was?

A 1 don't have that information with me.

Q And you don't know where that was? 1 mean, was it in a
house, an apartment, in Tarrant County? Do you know anything
about that?

A 1 don't have that particular report, so unless it's listed'
in the complaint 1 don't have that information handy.

Q And what about these other 10 people that you listed? Do

you know where -- what they saw or when they saw it or --
A 1 have --
Q -- where it happened?

 

 

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McCurdy - Cross 52

A 1 believe 1 have the -- Lauren Moore, a Lauren Moore
interview with me, a report, a Leslie Payne report, and 1 think
an Alisha Feeney report.
Q And do you know when that happened? Was it this year?
Last year? 2010? Or when?
A 1 can look.

(Pause.)
Q 1 don't want to take up any of the Court's time, any more
of the Court's time. But to your recollection, you've never
seen a report that shows when any of these people might have
had any drug transactions with the person you're accusing here
today, Mr. Troy Bell?
A 1 wouldn't say that 1've never seen a report. 1'm just
saying that -- 1 would say that 1 don't recall at the moment.
Q Okay. What about any drugs? Did you or any other agent
involved in this seemingly-extensive investigation ever seize
any drugs from Mr. Troy Bell?
A Not to my knowledge. No, ma'am.
Q Did you seize any guns related to any drug transactions or
anything like that from Mr. Bell during this -- any time during
this investigation?
A Not to my knowledge. No, ma'am.
Q What about any drug paraphernalia that would indicate in

some way at least that he was in fact distributing drugs

somehow? Scales, baggies, notes, anything like that?

 

 

 

 

 

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McCurdy - Cross 53

1 A Not to my knowledge. No, ma'am.

2 Q What about any phone calls where he might have talked in

3 code like some of the other defendants you've talked about,

4 where he might have been talking about dealing drugs or buying

5 or selling or in any way involved in this drug -- these drug

6 transactions?

7 A At this point, 1'm not aware of any. As 1 said, we have

8 not reviewed everything, but at this point 1'm not aware of, in
9 the investigation --

10 Q But at this point you have accused him, right?

11 A Yes, ma'am.

12 Q Okay. But you are not aware of any phone calls? Text

13 messages?

14 A No, ma'am.

15 Q Facebook postings?

16 A Not yet.

17 Q Pictures where he's holding drugs or money or anything like

18 that?

19 A No, ma'am.

20 Q When you arrested or when he was arrested, was there any

21 drugs, paraphernalia, pictures, guns, anything that would show

22 that he was in some way a drug trafficker?

23 (Pause.)

24 A This is the same Texas DPS draft report that 1 reviewed

25 earlier relating to arrests on July the 21st. There is no

 

 

 

 

 

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McCurdy - Cross

mention of any drugs, any drug paraphernalia, any firearms.

Mr. Bell was arrested and a cell phone was seized.

Q Okay. What about surveillance? Did you or any of the
other agents involved in this investigation ever follow or
observe or surveil any activity by Mr. Bell that would indicate
that he was involved in drug trafficking in any way?

A 1 have not done any and 1'm not aware of any.

Q Okay. What about any confidential informants that may have
been working for law enforcement in this investigation who may
have tried to -- bought drugs from Mr. Bell or tried to buy
drugs from Mr. Bell or talked to Mr. Bell about buying drugs or
selling drugs?

A Not to my knowledge. No, ma'am.

Q No? So 1 guess then what you're saying to the Court is you
have no drugs, you have no paraphernalia, you have no evidence
of any kind, any -- of that nature, and you have statements by
people who may have been some in 2010 of some activity, and
statements of people where you don't know when it occurred, you
don't know under the circumstances it occurred, you don't know
anything about how it occurred?- And that's pretty much what
you're saying to the Court, 1 guess, right? Or do you have
more?

A 1 wouldn't describe it that way. There's the detail that's
in the complaint and there's also -- 1 would say that, with the

exception of Ms. Turner, the information that 1'm familiar with

 

 

 

 

 

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McCurdy - Cross 55

1 will primarily be in the 2014-2015, possibly into 2016 time
21 period.
3 Q So possibly, but we don't know?

4 A 2014-2015 for sure, possibly into 2016.

5 MS. ROMERO: No other questions, Your Honor.

6 THE COURT: All right. Mr. Crum, cross-examination?
7 MR. CRUM: No questions, Your Honor.

8 THE COURT: Mr. O'Shea, cross-examination?

9 MR. O'SHEA: Yes, Your Honor, briefly.
10 CROSS-EXAMINATION

11 BY MR. O'SHEA:

12 Q Agent, on Paragraph 17 in the complaint, with respect tol
13 Ms. Norris again, some of the questions that Ms. Romero asked,
14 there are no dates involved -- let me back up. These are two
15 debriefings that are being referred to in Paragraph 17, right?
16 Two separate debriefings, one of Mr. Baker and one of Mr. --

17 A Stepich.

18 Q -- Stepich?

19 A Yes, sir. That's how 1 would characterize it.

20 Q Okay. And that's it? Two debriefings, right? That's what

21

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understand from reading that paragraph.
22 A Yes, sir.

23

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Okay. Were you there during the debriefings? Either one?

24 A 1 have sat in on a debriefing of Mr. Baker and 1've sat in

25 on a debriefing of Mr. Stepich, but 1 can't remember if they

 

 

 

 

 

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McCurdy - Cross 56

1 were the particular debriefings when he talked about your

2 client.

3 Q Okay. Can you give dates on any of these transactions that
4 are referred to in that paragraph? Are there dates reflected

5 in a report that are more specific as to when these

6 transactions allegedly took place?

7 A (no immediate response)

8 Q 1'm not asking for the dates. 1'm just asking if those

9 dates exist.
10 A 1 believe so. And what 1 was going to reference was the

11 date of the interview that might put a time frame on it. 1
12 don't have those reports in front of me.

13 Q Well, the description in Paragraph 17 is very general.
14 1t's -- basically, someone could have said this thing in about
15 30 seconds, right? But were the circumstances under each of
16 these transactions other -- and 1'm not asking for discovery --
17 but are they described more fully anywhere else?
18 A Without having those reports in front of me, 1 can't say.
19 Q Okay. Were they corroborated by anything else?

20 A 1 think they were corroborated by several things, including

21 your client's Facebook account and the one-out seizure in
22 December of 2015.
23 Q So you're saying that these transactions are the same

24 transactions you're talking about in the Facebook account?

25 A Oh, not necessarily. Just that she's involved in

 

 

 

 

 

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McCurdy - Cross 57

1 methamphetamine distribution.
2 Q Okay. Well, 1'm asking if these transactions were
3 corroborated, if these specific transactions were corroborated
4 in Paragraph 17 with anything from a text, a surveillance, a
5 video, anything of a physical nature.
6 A 1 have not reviewed -- 1 just was able to download her
77 account last night, so_1 have not reviewed the full account, so
8 1 can't answer that.
9 Q Okay. With respect to the Facebook account, under what
10 name is that account?
11 A Angel Renee.
12 Q Angel Renee?
13 A Angel Renee.
14 Q Did -- were you able to verify that that Facebook account
15 was Ms. Norris sitting here today?
16 A Yes. There are several photos of her on the account, and 1
17 believe she also provides her date of birth on the account.
18 Q Okay. So you were able to verify that that was her l
19 account?
20 A Yes, sir.
21 Q Now, the discussions in there, your interpretations are
22 that they were drug deals they were talking about?
23 A Yes, sir. Well, some of the -- not all the conversations

24 in the account were drug transactions, were related to drug

25 transactions. But there were certainly drug-related

 

 

 

 

 

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McCurdy - Cross 58

1 conversations in the messenger portion of the account.

2 Q Were you -- she was in prison, she was released in roughly
3 end of March 2016, where she got 40 months' deferred probation,
4 right, for a drug -- for a possession with intent to deliver,

5 right? That's the report you -- that 1 was handed.

6 A The Pretrial report?

7 Q No, no. The report dealing with her arrest.

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D>*

The arrest in December of '15 --
9 Q Yes, sir.

10 A -- for the one ounce? 1 don't know the outcome of that.
11 Q She was given -- okay. Well, let me -- let me just tell
12 you, she was given 40 months, 48 months' probation in March.
13 And my question is, were you able to verify whether or not she
14 was in jail during that time that you mentioned, any of these
15 dates of her Facebook account discussions? 1n other words,

16 were the discussions going on while she was in jail?

17 A 1 have not done that comparison yet.

18 Q Because there was one -- at least one month that you

19 mentioned, March, where she was in jail.

20 A March of which year?

21 Q 2016.

22 A Do you recall which message that was?

23 Q 1 don't. But have you -- have you cross -- my question

24 generally is have you cross-checked all of these messages to

25 make sure she was actually out of jail when they took place?

 

 

 

 

 

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A Oh, no, sir. The return we received from Facebook is well
over 4,000 pages. 1've just started.

Q Okay. All right. And so you're not aware that she's been
on probation since March of 2016, 1 guess a year and a half,
and she's tested clean every time, she's never missed a report,
she's had no violations whatsoever in her probation?

A 1'm not aware of that. 1 am aware that another individual
was arrested at the same location where she was located on the
day of the takedown who also had a felony drug warrant.

'Q Let me ask you about --

A' 1 don't know if that would be a violation of her probation
or not, but --

Q Well, you don't know whether or not it's a violation of
probation --

A No, that's what 1 said,

Q -- because you don't know whether -- these transactions
you're referring to or what time frame they took or -- you just
don't know that, right?

A No, 1'm sorry, maybe 1 misspoke. The day that your client
was arrested, the location where she was found, there was
another individual there who also had a felony warrant for
possession of a controlled substance. My point was --

Q Was that her boyfriend? l

A 1 have the name. 1 don't know if it's the boyfriend.

Q That's fine. Let me just ask -- let me ask you about that

 

 

 

 

 

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' McCurdy - Cross 60

day she was arrested. She was in her apartment, right?

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2 A 1 believe she was at a residence. Here we go. She was
3 arrested at, according -- again, 1 believe this is a draft
4 report from the Drug Enforcement Administration -- she was

5 arrested at 8921 South Normandale in Fort Worth, and the
6 apartment number is 1118. n
7 Q Okay. And when she was arrested there, that was her place
8 of residence?
9 A 1 don't know, sir.
10 Q Well, did the report indicate whether -- 1 mean, she had
11 her baby, her one-month-old baby there, right? 1 mean, her
12 one-year-old baby? And her belongings. Does it indicate --
13 okay. And she gave consent to search? There was a consent to
14 search that apartment, and no drug paraphernalia was found, no
15 drug-related instruments, any scales, any drugs, any baggies?
16 Anything in that report that indicates that she -- there's
17 drug-related activity going on in that apartment?
18 A Just the other individual with the felony warrant. Nothing
19 beyond that that 1'm aware of.
20 Q Nothing beyond that?
21 A The report doesn't indicate anything beyond the other

22 individual with the felony drug warrant.

23 MR. O'SHEA: 1'll pass the witness, Your Honor.
24 THE COURT: Before we move from Ms. Norris.
25 EXAMINATION BY THE COURT

 

 

 

 

 

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1 THE COURT: So the information given by Lee Baker and
2 Michael Stepich as to Ms. Norris, what was the year time frame?
3 Was that '14-'15 or '16? Do you recall?

4 THE WITNESS: No, sir, 1 don't. 1 can't say with a

5 good degree of certainty.

6 THE COURT: 1s there any indication to me it's recent?
7 THE W1TNESS: 1 have the Facebook messages that

8 indicate drug transactions as recently as October of '16.

9 That's the most recent one 1've found so found,

10 . THE COURT: The conversations --
11 THE WITNESS: Yes, sir.
12 THE COURT: -- that we talked about or heard about

13 earlier?

14 THE WITNESS: Yes, sir.

15 THE COURT: Okay. All right. Any further questions
16 for your witness2

17 MR. SMITH: Yes, Your Honor.

18 ` REDIRECT EXAMINATION

19 BY MR. SMITH:

20 Q Okay. Starting with Ms. Norris -- and 1 want to backtrack
21 onto the custodial situation of these individuals, you know,
22 kind of more broadly again, 1s it common for people to go to
23 jail for a day or two and then come out and then continuing

24 their drug trafficking both before and after their brief period

\

25 of incarceration? Would that be a common thing?

 

 

 

 

 

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McCurdy - Redirect

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A 1n this investigation, it's very common.

2 Q Okay. So it's very possible that somebody could have gone

3 into jail for two to three days, maybe even a week or two, in a
4 certain month, but that doesn't necessarily mean that they have
5 stopped drug trafficking?

6 A No, sir. Not in my experience.

7 Q Okay. All right. Now, on to Ms. Norris, Angel Renee

8 Norris. 1 know you itemized to some extent the information for
9 Mr. Bell. Can you do that same thing as it relates to Ms.

10 Norris? Who else gave information besides Mr. Stepich and Mr.

11 Baker as it relates to Mr. Bell?

12 A Yes, sir.

13 Q Or to Ms. Norris, sorry.

14 A 1 will, before 1 start, 1 will mention that the notes that

15 1 have in front of me do not include any of the Facebook

16 information.

17 Q All right.

18 A We didn't have that at the time that these notes were

19 created. So, but to answer your question, we have -- it

20 appears we have at least 12 statements, Additionally, we have

21 the arrest that 1 described earlier in December '15 when the

22 one ounce was seized from her. And we have some text messages

23 that were recovered from the cell phone of Travis Cathey, who

24 was a co-conspirator who 1 believe was convicted in a related

25 case in 2015.

 

 

 

 

 

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McCurdy - Redirect 63

Q Okay. So can you name those individuals for Ms. Norris?

A Yes, sir. Alisha Feeney. Michael Stepich. Nicki Risovi.
Jonathan Ruckman. Lauren Moore. Leslie Payne. Billy
Leverett. Megan Kemp. Mandy Turner. Lee Baker. Brian Brown.
And Tiffany Bradberry.

Q Okay. And those, those are some of the same people that
you named off in Mr. Bell's case, too; is that right?

A Yes, sir. Some of the people overlap. 1 will add that
even though -- just getting starting in the Facebook
information, 1 was at least, out of this list, 1 was able to
find some drug-related messages between Alisha Feeney and Ms.
Norris.

Q Okay. And approximately when did that occur? Do you know?
A Ms. Feeney was arrested on this case in June of 2015, so it
would have been before that.

Q Okay. And so that's when you're saying, as it relates to
both Mr. Bell and Ms. Norris, the bulk of that information
comes from 2014 and 2015 from cooperators who were dealing in
drugs during that time period?

A Yes, sir. 1 would say that's accurate.

Q Okay. So you can't say that on a -- necessarily say that
on a specific day in 2015 that this person did this event, but,
more broadly, that this sort of conduct occurred over that time

period. 1s that a fair statement?

A Yes, sir. That's correct.

 

 

 

 

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McCurdy - Redirect 64

Q All right. And that would be true for both Mr. Bell and
Ms. Norris?

A Certainly, Mr. Bell. 1 mean, 1 do think, related to the
Facebook information 1've testified to already, that that helps
us nail down some dates. But in general, that's correct.

Q Okay. And now Ms. Mandy Turner, who provided information
as relates to Mr. Bell, the thing that she talked about in
reference to 2010-2011 time -- approximately that time period,
coincides with Mr. Bell's 2010 arrest. 1s that accurate?

A 1t would --

Q On drugs?

A 1t would, based on the information 1 reviewed, it would
seem to be roughly the same time period.

Q Okay. All right.

MR. SMITH: No further questions, Your Honor.

THE COURT: All right. Any follow-up questions based
upon those questions? 1'm going to keep it within the scope.
From the Defense? 1f there is, please let me know. (No
response.) Very good. You may step down, sir.

THE WITNESS: Thank you.

THE COURT: Thank you.

(The witness steps down.)
THE COURT: You may call your next witness.

MR. SMITH: Nothing further, Your Honor.

THE COURT: All right. So, we'll begin with the

 

 

 

 

 

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Defense. 1 will tell counsel, if any of you need to excuse
yourself to the restroom or anything like that while another
counsel is asking questions, feel free to come and go from the
courtroom. But 1 want to keep going. We've got another
hearing at 2:00 and we're going to just go straight.

So, Mr. Davis, do you wish to present any evidence on the
issues of probable cause or detention as to your client?

MR. DAVIS: Your Honor, 1 was going to. He may not
necessarily have to be here. My client's boyfriend, Jason
Voss, unfortunately is an independent contractor in the carpet
business. Was present in the courtroom but finally had to
return to a job that he's got going.

THE COURT: Oh.

MR. DAV1S: The only thing he would add to what's in
Paragraph 3 of Page 2 of my client's report is that he has
confirmed with her employer that if she is released she would
be able to go back to work for them, as she has been. And
that's the employment in that next section.

THE COURT: Make ready?

MR. DAVIS: So, if it's acceptable to the Government
and the Court, 1 would offer that as a proffer, or certainly 1
can get him back or something in writing. But that -- he was
going to confirm the other information that was already in the

report. That was going to be the only thing that he would add

 

 

 

 

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THE coUR'r: Aii right.

MR. DAVIS: -- there. So that would be all 1 would
have there, Your Honor.

THE COURT: 1 will accept that proffer from that
Defense.

Mr. Green, do you wish to offer any evidence on the issues
of probable cause or detention as to your client?

MR. GREEN: Yes, Your Honor. By means of a proffer
that, as is stated in the Probation Office report here, my
client's gainfully employed. He has four years of residence in
Granbury. He would also like to proffer -- 1 mean, dispute one
thing that says he used prescription opiates two months ago.
He says he didn't say that. And also that he did have recent
criminal trouble in Harris County. He came to court on that
case. He was facing a minimum of 25 years, a maximum of 99
years or life. And he came to court every day, and that case
was dropped to a misdemeanor assault.

THE COURT: All right.

MR. GREEN: Thank you, Your Honor.

THE COURT: 1 will accept that proffer from the
Defense.

Mr. St. John, do you wish to offer any evidence on the
issues of probable cause or detention?

MR. ST. JOHN: 1 have no issue specifically as to

probable cause, Judge. 1 will suggest to the Court and make a

 

 

 

 

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1 proffer through his fiancée, Ms. Powell, who is in the
2 courtroom -- if she could stand -- that she would indicate --
3 she'd testify everything in the report is true and accurate.
4 My client is employed, with one job for seven years, another
5 for ten years. He lives in the North Texas area, has all his
6 life. Can live with his mother -- 1 guess his mother-in-law-
7 to-be, and that's confirmed through the Pretrial Release. And
8 1 ask the Court to refer to the last page where the Pretrial

9 Release is recommending my client be released on conditions of
10 release.
11 THE COURT: All right. 1'11 accept the proffer on
12 behalf of Mr. Penneston.
13 Ms. Romero, do you wish to be heard in summation as to your
14 client, Mr. Bell?
15 MS. ROMERO: Yes. 1 have a brief proffer and a
16 summation. Mr. Bell is employed, or was employed before he was
17 arrested, at Trailer World. And then, before that, for a year
18 and a half at another similar type or Lone Star Fuel 1njection.
19 And he could go back to his job as well. He has been a
20 resident of the area, particularly Hood County, Hood and
21 Tarrant County, He has seven brothers, seven brothers. And
22 one of them is not Dustin. He doesn't have a brother named
23 Dustin. Seven brothers and three sisters in the area. He

24 could live with his sister.

25 One other thing, Your Honor. The last time he was

 

 

 

 

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convicted on that 2010 charge, he was -- Judge Gallagher gave
him 60 days to report to prison so he could put his affairs in
order, and he showed up and everything was fine and he hasn't
-- 1 mean, the last time that he had any sort of indication
where he failed to identify was a number of years ago, but
nothing at all recently. So we would proffer that.

And we would just basically say, as the Court heard, the
evidence is, you know, some statements about sometime in '14,
'15 or '16, no month, no circumstances, we don't have anything,
There's no drugs. There's no conversation, There's not a
single text, There's not a photograph. There's just nothing
there that 1 can see, unless 1 missed it.

So we would argue that clearly the Government has a right
to go and get an indictment, and they may do that and there may
be other evidence out there and this agent just didn't know it,
1 don't know, but as far as his release, based -- he has an
extensive criminal history, granted. 1t was a long time ago,
much of it. He has appeared. He was given 60 days to appear
on the last one, and he did. He has a job. He has a place to
live. He's never lived anywhere else but in this area. And he
has extensive contacts. And that's what we would say.

THE COURT: Thank you, Ms. Romero. 1'11 accept that
proffer.

Mr. Crum, do you wish to present any evidence on the issues

of probable cause or detention as to Ms. Glenn?

 

 

 

 

 

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1 MR. CRUM: Regarding detention, 1 do have a proffer
2 1'd like to offer to the Court. She does have family members
3 that are present. Specifically, her great-aunt, Jerry Kilgore;
4 her mother, Doris Russ; and then two brothers. They all live
5 in Parker County. 1 think -- and 1 was anticipating calling my
6 client's mother or great-aunt. But just as a proffer, 1
7 believe they would testify that my client can reside with them
8 in their home. Her mother is disabled and can provide 24-hour
9 adult supervision for my client. The aunt doesn't have any
10 criminal history, has a stable job, stable employment. Can
11 provide transportation, supervision as well, and can provide or
12 ensure that my client can be in court when notified to be here.
13 They would also testify that my client is enrolled in
14 Weatherford College. Will be attending classes this fall.
15 And 1 have some argument 1 would make if this is the time
16 to do it, or 1'll --
17 THE COURT: No, just proffering the facts.
18 MR. CRUM: Then that's what the extent of the proffer
19 would be, Your Honor.
20 THE COURT: 1 will accept that proffer from the
21 Defense.
22 And then, finally, Mr. O'Shea, do you wish to present
23 evidence on this issue?

24 MR. O'SHEA: Yes, Your Honor. 1 would like to make a

25 proffer on behalf of Ms. Norris. 1 spoke with Deborah

 

 

 

 

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1 Espinosa, who's referenced in the Pretrial report. She -- Ms.
2 Norris and Ms. Espinosa were actually living together for about
3 a year and a half, up until last month. Ms. Espinosa said she
4 would allow Angel Norris to live there with her, knowing that
5 she's been on probation for almost a year and a half from the

6 charge that was referenced by the agentt Clean. Reported

7 every time. No problems whatsoever.

8 Ms. Espinosa doesn't have any problems. Ms. Espinosa

9 actually has her one-year-old child and her one-month-old child
10 in her possession that CPS gave her, and so she more than

11 welcomes Ms. Norris back into the home.

12 Ms. Norris understands that she's got to report and she's
13 got a bear of a case in front of her, but she wants to get out
14 to at least be able to take care of this one-year-old and the
15 one-month-old. She's -- and by all indications, for the last
16 year and a half, she has toed the line on a 48-month deferred
17 probation for that case that was mentioned.
18 So Ms. Espinosa has been gainfully employed with Fort Worth
19 Transportation Services. She couldn't be here today. Friday
20 is her day off. She has owned a cleaning business in the past.
21 Always has been employed. She has three children of her own.
22 Two own their own businesses. She's always lived in the
23 Tarrant County area, as has Ms. Norris. And Ms. Espinosa has

24 eight grandchildren, so nobody's going anywhere.

25 And so we'd ask, on the issue of detention, that Ms. Norris

 

 

 

 

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be released. The Pretrial Service indicated it had one issue,
and that was the stability of her residence. And 1 think that
1've addressed that with my proffer, Your Honor. And if the
Court needs anything further, we'd be welcome to offer that to
the Court.

THE COURT: Okay. Thank you. All right. Does the
Government have any evidence it wishes to offer in rebuttal at
this time?

MR. SMITH: No, Your gonor.

THE COURT: Then 1'11 consider the evidence closed.

Do you wish to be heard in summation?

MR. SMITH: Yes, Your Honor.

THE COURT: Okay.

MR. SM1TH: 1'll start with 582, Heather Dean and
Jason Easley. 1 think that the evidence was -- and Mr.
Penneston -- at least for probable cause was overwhelming. 1'm
not really going to address that too much. 1 think some issues
that the Court may be interested in is the no-bill issue of,
January 2017 for Ms. Dean. Obviously, weird things happen at
Tarrant County, but the Government put on the evidence of that
arrest.

1 think it's pretty clear what was going on. She was
passed out at a Wal-Mart and somebody called, the store manager

called 911 or the police, the police showed up, found some drug

paraphernalia and residue in a bong, 1 believe, that sort of

 

 

 

 

 

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1 thing. There's -- so it's pretty shocking that that sort of

2 thing was no-billed.

3 But in any event, there was constant communication between
4 Dean, Heather Dean and Jason Easley on Facebook Messenger. 1n
addition to the current drug trafficking, all the way up 'til
6 May, 1 believe, at least, from Ms. Dean. Mr. Easley, 1 won't
7 belabor the point too much, but he has an off-the-charts

8 criminal history. 1t's pretty substantial. Pretty amazing,

9 actually. And he's flaunting the representation of having

10 assault weapons in that status.

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(.)`|

11 Mr. Penneston confessed and confirmed information that we
12 had on him already, though he minimized it to some extent. He,
13 too, has multiple felony convictions.

14 Now, as it relates to the other complaint, Your Honor, 589,
15 Mr. Bell and Ms. Norris appear to present similar-type

16 arguments, though 1 think more so Mr. Bell, in that, you know,
17 these co-conspirators or co-defendants can't be believed.

18 Actually, she didn't even really challenge the believability of
19 it, just that there's no specific time frames. Well, of

20 course, the nature of this drug conspiracy is abundantly clear.
21 By way of example, though no text messages or Facebook or the
22 like was taken in regards to Mr. Bell, numerous co-conspirators
23 identified him as trafficking. Mandy Turner identified him

24 historically from 2010-ish, 2011, which is confirmed by his

25 arrest and subsequent guilty plea on that issue, The fact that

 

 

 

 

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he pled to less than one gram is not necessarily indicative of
the quantity involved, but also probably more indicative of
what Tarrant County may do in their pleading decisions at the
state level.

1n any event, multiple other people -- 1 think nine after
that -- put him right in the middle of it in 2014 and '15,
which is what is alleged to have happened.

Now, on to Ms. Glenn. 1 won't belabor that point, just the
one issue on the proffer. 1 believe it was her police report
in April 2015 where she indicated that she got her backpack
from her mother,v And that was the -- what was the drugs and
the -- or the bong and the syringes, 1 believe, were found in
there. 1 may be mistaken, but it was -- that was at least the
general -- the gist of that testimony, that information.

Now, finally, as it relates to Ms. Norris, obviously, the
Government is sympathetic to the Defendant's case and the fact
that she does have children, young children. Unfortunately,
that has not deterred Ms. Norris from drug-trafficking
extensively and repeatedly. Even one, as the agent testified
about, in October of 2016, which obviously would have to
represent the one-year-old as opposed to the one-month-old, but
that she was -- had her child with her during her preparation
or the consummation of a drug deal, which that would mitigate

-- you know, at one point it's mitigatingy the fact that she

has children; it's quite sad and depressing that she's doing

 

 

 

 

 

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1 this sort of thing while she's caring for her children.

2 1n addition, on Ms. Norris' case, although she did receive
3 deferred probation from the County, it's clear that during that
4 deferral or probated sentence, during both before the

5 adjudication of that and after, she's been -- actually, at

6 least contemporaneous with that, she's been involved in

7 trafficking to some extent, even while she's on that deferred

8 state or probated state, if my memory's correct.

9 But in any event, the Government urges detention on all

10 defendants for the reasons stated.

11 ` THE COURT: That last statement you made regarding Ms.
12 Norris, she went on the four-year probation back in March of
13 '16, and so you're referring to the evidence of Facebook

14 messages and things like that in the intervening time?
15 MR. SMITH: Yes. Yes, Your Honor. And 1 believe that

16 the last one we had on Ms. Norris was October of 2016, if

17 that's -- if my memory is correct on that testimony.

18 THE COURT: Okay. 1 understand.

19 MR. SM1TH: October 2016.

20 THE COURT: Thank you. That's a lot to keep straight
21 on.

22 All right. Let me start with the Defense. And 1'll ask

23 each of you, do you wish to make a summation? Mr. Davis?

24 MR. DAV1S: Yes, please, Your Honor.

25 THE COURT: Okay. Go ahead.

 

 

 

 

 

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1 MR. DAVIS: Your Honor, with respect to probable

2 cause, the complaint devotes a lot of attention to what was

3 going on a couple of years ago with Ms. Feeney and those

4 related folks. As the Court well knows, and Mr. McCurdy told

5 us, those have all -- they've been prosecuted and they're long
6 gone to federal prison, and that was a couple of years ago.
7 What we heard about now that pertains to the allegations in
8 this complaint has to do apparently with my client's attempting
9 to purchase GHB a couple of times from one of the co-

10 conspirators here, and that's about all we've got with respect
11 to the folks who are named here in this complaint for this

12 conspiracy. And it's not clear that they actually ever did a
13 deal here. 1t's not clear, on some of it, what the quantity

14 is, although 1 think there's one suggestion that it might be a

15 half-ounce quantity.

16 And there's even part of the complaint that would debunk

17 the notion that they had an agreement or some kind of

18 arrangement. On the very last part of Paragraph 15 on Page 8

19 is Mr. Easley asking my client, "What you going to pay?" Well,

20 you know, that would suggest negotiating a freestanding

21 transaction, and 1 think the Fifth Circuit case law is clear\

22 that one or two transactions does not a conspiracy make.

23 So, you know, we've got evidence of something from a couple

24 ,of years ago that's never been tied in to what happens now.

25 What happens now appears to be an attempt at a couple of

 

 

 

 

 

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1 transactions that's not connected beyond anything other than

2 one person in the conspiracy. So 1'm not sure it's a

3 conspiracy at all. So, obviously, we think that there's a

4 probable cause issue with what the Government has pleaded here.

5 With respect to detention, the Court can see my client does

6 have some criminal history. 1t is significant, some of it, but
7 it's all several years old, Her last conviction 1 believe was
8 in 2014 on a felony DWI that was 1244A'd down to 120 days, She
9 has been working. She_has a place to go, a place to live. She
10 can go back to her job. And getting on pretrial release would
11 allow her to start getting some monitoring, testing and

12 counseling for a drug problem. So, you know, we think the

13 Court can release her, and that given the situation; that we

14 barely clear that hurdle on the rebuttable presumption, we

15 would ask the Court to find that and allow her out on(

16 appropriate conditions.

17 THE COURT: All right. Thank you, Mr. Davis. Mr.

18 Green?

19 MR. GREEN: Thank you, Your Honor. As part of the

20 probable cause, 1 have a similar argument, that negotiation is

21 not the same as participation. Here, the evidence is scant to

22 show probable cause that Mr. Easley actually participated in a

23 drug distribution conspiracy. There are some text messages,

24 and it's not clear it's even about drugs. That's a speculation

25 .on the agent's part, and 1'd like the Court to weigh that bit

 

 

 

 

 

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of evidence.

And the offense charged here is distribution, so 1 think
the evidence has to point solely to that. 1 think the evidence
is very scant, that there's no corroboration that Mr. Easley
had a gun or guns or assault rifles, as alleged. There is no
'evidence, as the agent said, of him being in possession of
methamphetamine or another narcotic. They didn't catch him
with it. Or the money.

1'd also like the Court to take in possible credibility
issues of some of our co-conspirators, such as Mr. Maldonado.
You have a convicted felon, you know, trying to give a
statement to benefit his own self. So we would argue that
probable cause is lacking here as far as Mr. Easley is
concerned.

As far as detention, Your Honor, as we had argued before,
Mr. Easley has a good job. He's been employed there at Grady
Rentals for four years. He's been living in Hood County that
whole time. He has family in the area. He has a stable home.
He had a hard felony, habitual felony enhanced case in Harris
County in the 176th District Court, and Mr. Easley made it to
every court appearance. They ended up reducing that habitual
felony charge of aggravated assault to a misdemeanor assault,
which maybe shows something about the case. So there's no

violation or violence pled in this Code [sic], either.

Mr. Easley is -- when he got off parole last -- in 2011?

 

 

 

 

 

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1 ’ DEFENDANT EASLEY: Yes, sir.

2 MR. GREEN: And he went off and got him a degree and
3 this good job. So we'd ask that you would let him do drug

4 treatment or release him on conditions of release. Thank you,
5 Your Honor.

6 THE COURT: All right. Thank you, Mr. Green. Mr. St.
7 John, do you wish to be heard in summation?

8 , MR. ST. JOHN: Briefly, again, as to the issue of

9 detention, Judge, 1 would suggest to the Court that my client
10 is not a flight risk, nor is he a threat to the community. The
11 report is very detailed in terms of what he's done in the past,
12 what his obligations are, where he will live, who he can live
13 with. 1'm going to simply ask the Court to take into'

14 reconsideration the last page and recommendation made by the

15 Pretrial Services officer, who 1 would suggest is an expert in
16 regarding -- evaluating someone's position to be released on

17 conditions of release.

18 THE COURT: All right. Thank you, Mr. St. John. Ms.
19 Romero, do you wish to be heard?

20 MS. ROMERO: Again, briefly, on detention, Your Honor.
21 1 believe that there is no evidence that Mr. Bell is a flight
22 risk or a danger to the community. He has a place to live. He
23 has a job. He's always lived in this area.

24 And 1 do think that there is an issue with probable cause

25 in that there is absolutely no evidence to corroborate any of

 

 

 

 

 

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the statements that any of the co-conspirators or informants
may have said about Mr. Bell. 1n addition to that, there's no
time frame, there's no circumstances, there's no even detail as
to any of these supposed transactions. So we would say there's
a serious problem on probable cause, again, as to Mr. Bell.

THE COURT: Okay. Thank you, Ms. Romero. Mr. Crum,
do you wish to be heard?

MR. CRUM: Yes. Thank you, Your Honor. Regarding
detention, 1 would just ask the Court to follow the
recommendations of Pretrial Services, which does recommend
release.

Ms. Glenn was born in Fort Worth. Her entire family lives
in this area. Her immediate family and all her close family
ties live in Parker County, 1 would just ask that she be
allowed to live with her family. 1f the Court finds it
necessary to limit that to the home of her aunt, great-aunt,
who is here.

From the testimony you've heard, it's clear that any
involvement that Ms. Glenn may have had in this conspiracy as
alleged was limited to 2015. There has been no recent history
of major criminal activity. She has one prior felony
conviction for theft. That case has been disposed of. The
arrest in 2015 for the possession of controlled substance, as

testified, the amount was very minimal, 0.2 grams. There was

no other evidence that you would typically find with someone

 

 

 

 

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who's a heavy dealer in narcotics. There weren't any drug
notes, any scales, any baggies, anything to that effect. Just
a minimal amount and some drug paraphernalia,

As the Court is well aware, people who are involved in
drugs do make false statements and say stupid things, 1 bring
the Court's attention that any statement she may have made
regarding her mother was that, a stupid statement to try to
deflect responsibility from that backpack before it was
searched. But as the Court is also aware of, that case was not
prosecuted and was dismissed. And so she has one prior felony
conviction from 2015. Strong family ties in the community. 1
don't believe that she's a flight risk at all.

There is some mental health history that's been made as a
-- as some concern, but it's ADHD. 1 think that that's a
common diagnosis; 1t certainly doesn't reflect that she's a
danger in any way because of that.

1 would just ask the Court follow the recommendation of
Pretrial Services.

THE COURT: Thank you, Mr. Crum. Mr. O'Shea?

MR. O'SHEA: Yes, Your Honor. 1'd like to start with
her probation that she's on. My client refreshed my memory
that she -- that -- that was not -- the deferred probation was
-- it still is. 1t wasn't reduced. 1t was an enhanced felony.

So her range of punishment if she violates that is 15 to 99 or

life. And so she has taken that seriously.

 

 

 

 

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She -- with respect to these Facebook -- mentioning in
these Facebook, this is -- 1 haven't seen it, but this is
speculative. 1t's nebulous. One of them was about purses that

he speculated was about a drug transaction. She has had her
children the entire time. 1 mentioned CPS. Again, she -- she
about hit me when 1 said that. The CPS has not taken away her
kids or gotten involved. Ms. Espinosa has the children right
now, but my --

THE COURT: Because of this arrest?

MR. O'SHEA: Yes.

THE COURT: Yes.

MR. O'SHEA: But my client has had these children ever
since she's been out. That's been her full-time job. She's
done some work with Ms. Espinosa, cleaning houses to gain some
income. But since she's been out, she's been reporting.

And another thing. The MHMR mentioning that she's had a
lifelong almost problem being bipolar, she actually has a --
through her probation, she has an appointment that is set up.
She's been off her medications while she's had her children and
has still had no problems. But she has an appointment to go
back and be evaluated again and get through that process. So
the State has taken care of all of these issues, and the only
issue that was left hanging was her residency, which we believe

we've addressed.

Thank you.

 

 

 

 

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THE COURT: Okay. Thank you, Mr. O'Shea. Any final
word from the Government?

MR. SMITH: Briefly, Your Honor. 1 don't want the
Court to confuse probable cause from the complaint with some
_detention issues. So the agent testified early on as to the
facts in the complaint about each defendant, and then in some
instances -- for example, for Ms. Dean and Mr. Easley -- the
agent testified about things that were past, that were beyond
the complaint, that were more recent, if you will, to show
several things, detention type issues and continuing contact
type issues.

So there's definitely a difference between the conspiracy
as alleged and proof and the one that's still going on as
people get arrested and go in and out jail. The conspiracy
doesn't die when a person gets arrested or goes to jail
oftentimes because they're in and out of jail constantly.
That's another point that came up during testimony, and that's
very common amongst this -- or; between and amongst these co-
conspirators.

Now, and 1 think the key issue, too, and 1 don't want to
upset the proffer balance. The Government understands the
efficacy of accepting proffers from defense attorneys on that,
besides wasting -- not wasting, but enduring three more hours
of time on testimony. But again, 1 think the issue is -- and

even if we accept, if we accept all these things as true that

 

 

 

 

 

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1 have been proffered, does that overcome the presumption that's
2 attached to these cases, especially given, especially given the
3 voluminous criminal history of 1 think every defendant here.

4 1 mean, some are worse than others, but it's shocking, in some
5 of these cases, the criminal history and the blatant

6 violations.
7 And again, Ms. Norris may be the most difficult case for

8 the Court to consider, but -- and that's why the Government

9 elicited testimony about that arrest that she got the probation
10 for. She had an ounce or so in her underwear, five or six --
11 four or five baggies in a backpack with scales and this sort of
12 thing. And that's what she got probation for. Which, again,
13 what Tarrant County does with certain cases is shocking. And
14 maybe they took into account her difficult familial scenario,
15 or maybe some MHMR stuff.' But when does the buck stop with

16 her? And that's why also the Government elicited testimony

17 about continuing conduct through Facebook and the like.

18 And so, again, the Government would ask for detention in

19 all cases.

20 THE COURT: All right. Thank you. All right. Based
21 upon the presentations -- and 1 thank all of you for your
22 patience but also your presentations and your arguments -- 1

23 find that`the low threshold, the relatively low threshold of

24 probable cause has been met in each case. So 1 make a finding

25 as to probable cause against all defendants that are before the

 

 

 

 

 

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Court in these two complaints.

The issue of detention is a little more complex, so 1'm
going to basically address it a little more individually. From
the start, based upon the extensive criminal histories of these
individuals, as well as the other evidence 1've heard, 1 find
that Ms. Dean, Mr. Easley, and Mr. Bell all do present risk of
flight or nonappearance and a danger to the community unless
detained.

1t is a rebuttable presumption case. 1 hold that the
proffered evidence meets the Defense burden to produce some
evidence and shift the burden back to the Government, or at
least take away the rebuttable inference. And ultimately, the
burden of persuasion never leaves the Government, and it has
been met in those three cases.

So, Ms. Dean, Mr. Easley, and Mr. Bell 1 will remand to the
custody of the United States Marshal while their cases are
pending.

As to Mr. Penneston, 1'm taking into account relatively
less criminal history. He's 31 years old, has a four-month-old
child at home, and the other information in the Pretrial
Services report, and the recommendation will be accepted by the
Court. And 1'm going to allow Mr: Penneston to be released on
conditions that we're going to go over in just a moment.- So
Mr. St. John, 1'm going to need you to hang around for a few

more moments.

 

 

 

 

 

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As to Ms. Glenn, 21 years old, relatively low criminal
history, and supportive family in the courtroom. 1 have
concerns about how wheels-off your life has been the last
couple of years, but 1'm going to allow you to remain out on
conditions of release while the case is pending. 1'm going to
leave it to my Pretrial Services officers to make the proper
housing determination, proper residence. 1t may be your great-
aunt. 1t may be your mother. 1'm not sure at this point. But
1'm going to have a condition that you live where Pretrial
Services approves. And we're going to keep close tabs on you
and Mr. Penneston as we go forward.

Ms. Norris is the more difficult issue when it comes to
detention, Her criminal history is outrageous. Two young
children are mitigating, but at the same time the dangers that
are presented and concerns to the Government, 1 do agree with.
1 don't know this current situation, 1 don't know enough about
the current situation with Ms. Norris and this Ms. Espinosa and
the rest of Ms. Norris' family, 1 think, to make a final
determination today. 1'm going to take under advisement Ms.
Norris, and actually it'll be a conditional order of release,
for my Pretrial Services officers to conduct more of a home
investigation and make sure that there's a good, stable place.

1'm very concerned about these Facebook communications.

And 1'm not even sure at this point -- 1'm taking the whole

thing under advisement. 1'm not sure at this point that even

 

 

 

 

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with a stable home, relatively stable home report, that 1'm
going to grant conditions. But as to Ms. Norris, 1'm going to
take it under advisement. And once 1 have more consultation
with Pretrial Services, 1 will issue an order and bring her
back and make a final ruling. And we'll do that expeditiously.
We're not going to waste a lot of time. Hopefullyy 1 might
even be able to accomplish this by tomorrow.

So that's the order of the Court. As it stands at this
point, 1'm going to remand to the custody of the Marshal Ms.
Dean, Mr. Easley, Mr. Bell, and Ms. Norris, based upon the
Court's rulings as to those individuals, And 1'm going to ask
Mr. Penneston and Mr. -- or Ms. Glenn to remain in the
courtroom with their counsel for further instruction.

All right. Are there any other matters to consider in
connection with the Defendants before the Court? From the
Government?

MR. SMITH: No, Your Honor.

THE COURT: From any Defendant?

MR. DAVIS: No, Your Honor.

MS. ROMERO: No, Your Honor.

-MR. GREEN: No, Your Honor.

THE COURT: Again, thank all of you. The Defendants
are remanded to the custody as indicated, and we'll take a
short recess.

THE CLERK: All rise.

 

 

 

 

 

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(A recess ensued from 12:20 p.m. until 12:36 p.m.)

THE COURT: All right. The Court is back on the
record in United States versus John Penneston and United States
versus Karrissa Glenn in separate complaints but a joint
hearing was held. Thank you. You may be seated.

1 just want to go over the order setting conditions of
release as to each of those Defendants. After a full hearing
on the issue of detention, the Court determined that conditions
could be set. And so in the brief recess, an order setting
conditions of release was prepared.

Mr. Penneston, have you had sufficient time to review that
order?

DEFENDANT PENNESTON: Yes, Sir.

THE COURT: Can you turn your microphone for me, Mr.
St. John?

MR. ST. JOHN: 1'm sorry, Judge.

THE COURT: That'S Okay.

MR. ST. JOHN: We had turned it to have some privacy,
and 1 apologize.

THE COURT: No, yes, perfect.

MR. ST. JOHN: Yes, sir.

THE COURT: Thank you. And Ms. Glenn, have you had
sufficient time to review that order?

DEFENDANT GLENN: Yes, sir.

THE COURT: Do you understand all of the conditions

 

 

 

 

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that are set forth in your order? Mr. Penneston?

DEFENDANT PENNESTON: Yes, sir.

THE COURT: Ms. Glenn?

DEFENDANT GLENN: Yesy sir.

THE COURT: On Page 3 of each of the orders, it
appears to be signed by each of you under "Acknowledgment of
the Defendant," letting me know that you understand all of the
conditions and you promise to obey them. 1s it your signature
that appears on your order, Mr. Penneston?

DEFENDANT PENNESTON: Yes, sir.

~THE COURT: And on yours, Ms. Glenn?

DEFENDANT GLENN: Yes, sir.

THE COURT: Just above your signatures on Page 3 is a
set of provisions which set forth the possible penalties and
`sanctions should you fail to comply with the order, Did each
of you review those carefully? Mr. Penneston?

DEFENDANT PENNESTON: Yes, sir.

THE COURT: Ms. Glenn?

DEFENDANT GLENN: Yes, sir.

THE COURT: Do you understand it can be a separate
federal offense for you to fail to comply with these
conditions? Mr. Penneston?

DEFENDANT PENNESTON: YeS, Sir.

THE COURT: Ms. Glenn?

DEFENDANT GLENN: YeS, Sir.

 

 

 

 

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THE COURT: There's an additional consequence 1 want
to inform you of, and that is your failure to comply with these
conditions could adversely affect the case you presently have
before our Court. Your attorneys can explain this to you in
more detail, but in short, a district judge could find that you
have failed to accept responsibility for your conduct if you
can't abide by conditions of release. Do you understand
generally that it could have that adverse effect, Mr.
Penneston?

DEFENDANT PENNESTON: Yes, sir.

THE COURT: Ms. Glenn?

DEFENDANT GLENN: YeS, sir.

THE COURT: All right. Are the conditions -- are
there any others the Government would ask the Court to consider
in either of these matters?

MR. SMITH: No, Your Honor.

THE COURT: Do either defense counsel have any issues
with the conditions as set? Mr. St. John?

MR. ST. JOHN: No, Judge.

THE COURT: Mr. Crum?

MR. CRUM: No, Your Honor.

VTHE COURT: All right. You're both relatively young.
Especially you, Ms. Glenn.

MR. ST. JOHN: 1 thought you were talking about me,

Judge.

 

 

 

 

 

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THE COURT: Not you, Mr. St. John. But 1'm giving you
this chance. And if you mess it up, don't come back and ask
for a second chance. This is your second chance when 1 sign
this document. And so 1 won't look favorably upon your failure
to abide by these simple conditions. And some of them are
there to help you. To help you get counseling, to help you get
services you might need. And 1 tell the family now that are in
the courtroom, if you see that, you know, Mr. Penneston or Ms.
Glenn not following these conditions, you'll be doing them a
favor by letting my Pretrial Services know and letting me know
before it gets too out of hand and the consequences are more
severe. So, keep that in mind. 1'm going to count on you as
well to help me out.

All right. So 1 find that each of the Defendants
understands the conditions of release and that they are
appropriate in each of those cases. 1'm signing an order
setting conditions of release. 1 order the Marshals release
each of these Defendants after any appropriate processing, if
any.

Are there any other matters to consider as to Mr. Penneston
or Ms. Glenn? From the Government?

MR. SM1TH: No, Your Honor.

THE COURT: From either Defendant?

MR. ST. JOHN: NO, Judge.

MR. CRUM: No, Your Honor.

 

 

 

 

 

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1 THE COURT: Very well. Then the Defendants are

2 ordered released after any appropriate processing upon these

3 conditions of release.

4 Again, thank all of you for your patience and for your time
5 and effort.

6 DEFENDANT GLENN: Thank you.

7 THE COURT: The attorneys are excused.

8 (Proceedings concluded at 12:40 p.m.)

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20 ' CERTIFICATE
21 1 certify that the foregoing is a correct transcript from
the digital sound recording of the proceedings in the above-

22 entitled matter.

23 /s/ Kathy Rehling 09/29/2017

 

24
Kathy Rehling, CETD-444 Date
25 Certified Electronic Court Transcriber

 

 

 

 

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